Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 1 of 74 PageID: 100547




                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEW JERSEY
                                          CAMDEN VICINAGE
   ___________________________________________)
   In re Valsartan, Losartan and Irbesartan          )
           Multi-District Litigation                 )     19-md-2875 (RBK/SAK)
                                                     )
                                                     )     Opinion on TPP Trial
   This document applies to all actions              )     Summary Judgment Motions
   ___________________________________________)
   KUGLER, United States District Court Judge
             Before the Court are several related and intertwined summary judgment [“SJ”] motions
   under Fed. R. Civ. Proc. [or “Rule”] 56(a) in this Multi-District Litigation [“MDL”]. These
   motions concern only the Valsartan portion of the MDL and precede an upcoming bellwether
   trial in the MDL [“the TPP trial”] among certain of the MDL parties on some of the counts in
   Plaintiffs' Third Amended Consolidated Economic Loss Class Action Complaint against All
   Defendants. Doc. No. 1708.
         The parties to the TPP trial include from plaintiff’s side: MSP Recovery Claims, Series,
   LLC [“MSP”] 1 as class representative of numerous Third-Party Payors [“TPPs”], and from
   defendants’ side: three defendants in the MDL: the Zhejiang group listed below, referred to
   herein as “ZHP”, 2 the Teva group, 3 referred to herein as “Teva”, and the Torrent group,
   referred to herein as “Torrent”.4 These three groups are collectively referred to herein as
   “defendants”. As a class representative, MSP may be variously referred to herein as plaintiffs
   or TPPs. These SJ motions aim to reduce the claims to be presented to the fact-finder at the
   TPP trial.
             This Opinion resolves the following Summary Judgment Motions, which Tables 1 and 2
   detail:
   - Doc. No. 2569 5: Ps SJ Mot. against all Ds for Breach of Express and Implied Warranty and


   1 MSP Recovery Claims, Series, LLC is the assignee of economic loss claims from two TPP assignors SummaCare and Emblem

   Health.
   2 The ZHP group consists of Zhejiang Huahai Pharmaceuticals Co., Ltd, located in China and its U.S. subsidiaries: Huahai U.S.

   Inc.; Prinston Pharmaceutical Inc. d\b\a Solco Healthcare LLC; and Solco Healthcare U.S.
   3 The Teva group consists of Teva Pharmaceuticals USA, Inc.; Teva Pharmaceutical Industries Ltd.; Actavis LLC; and Actavis

   Pharma, Inc. However, regarding Teva Pharmaceuticals Ltd. [“TPL”], located in Israel, the parties have stipulated, and the
   Court has ordered, that for the purpose of the TPP trial, TPL is not a party. Doc. No. 2656. The terms of the parties’ stipulation
   is discussed in the opinion infra.
   4 The Torrent group consists of Torrent Pharmaceuticals Ltd., located in India, and its U.S. subsidiary, Torrent Pharma, Inc.
   5 Abbreviations used throughout in this Opinion and the accompanying Order are listed in fn. 6 infra.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 2 of 74 PageID: 100548

                                                                                                                                   2


     Violations of State Consumer Protection Laws and against ZHP for Fraud;
     - Doc. No. 2559: Ps SJ Mot. against Torrent for Fraud;
     - Doc. No.2562: Ds Omnibus SJ Mot against Ps for Not Proving Breach of Express or Implied
     Warranty, Violation of State Consumer Protection Laws, and Fraud);
     - Doc. No.2564: ZHPs SJ Mot. against Ps for Not Proving Fraud or VCDs were Adulterated;
     - Doc. No.2565: Tevas SJ Mot. against Ps for not Proving Fraud or VCDs were Adulterated; Ps
     have not shown Punitive Damages);
     - Doc. No.2570: Torrents SJ Mot. against Ps for not Proving Fraud or VCDs were Adulterated;
     Ps have not shown Punitive Damages).
         Table 1 summarizes plaintiffs’ SJ briefs for the TPP Trial, the claims at issue, supporting
     submissions, defendants’ oppositions, and plaintiffs’ replies. Table 2 summarizes defendants’
     SJ briefs and submissions relating to Ds SJ Motions. As the parties’ SJ motions seek opposing
     rulings on the same claims and issues of law, this opinion resolves all TPP Trial SJ motions.


     Table 1. Plaintiffs’ Summary Judgment Briefs, Defendants’ Oppositions, and Ps Replies 6
                                                     Plaintiffs as Movant
 SJ Brief          Against        Claims                      Supporting                    Ds Oppositions                  Ps
 Doc No.           Which Ds                                   Doc Nos.                                                      Replies
2569-1:            Teva,          -Breach of Express &                                      2603: Ds Opp Brf
Ps SJ Brf-Omni     Torrent,       Implied Warranty;
                   ZHP            -Consumer Prot. Laws;
                                  -Violation of cGMPs in      2569-3:                       2571: D Opp SOMF
                                  making nitrosamine-         Ps SOMF-all Ds                                                2618:
                                  contaminated API and                                                                      Ps
                                  FD VCDs,                                                                                  Rep Brf
                                  -Which rendered the
                                  VCDs adulterated;
                                  Punitive Damages
NO individual      Teva           Ps rely on Common Law       2566:                         2602:
brief filed                       Fraud claim in 3rd          Ps SOMF-Teva                  Teva Opp SOMF
                                  Amended Complaint
2569-2:                                                                                     2604: ZHP Opp Brf;
Ps SJ Brf-ZHP      ZHP            Common Law Fraud                  2569-3:
                                                                    Ps SOMF-all Ds          2607: ZHP Opp SOMF
2559-1:                                                             2560:                   2596:Torrent Opp Brf;
Ps SJ Brf-TRT      Torrent        Common Law Fraud                  Ps SOMF-TRT             2597:Torrent


     6 The parties have sealed each SJ submission listed in Tables 1 and 2. Abbreviations in these Tables, Opinion and
     accompanying Order include: Defendants = Ds; Plaintiffs = Ps; Brief = Brf; Statement of Material Facts = SOMF; Opposition =
     Opp.; Motion = Mot.; Omnibus = Omni; state Consumer Protection Laws = CPLs; Manufacturer = mfr; Active Pharmaceutical
     Ingredient = API; Finished Dose = FD; Nitrosamine-contaminated Valsartan Containing Drug = VCD; Current Good
     Manufacturing Practices = cGMPs; Reference Listed Drug = RLD.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 3 of 74 PageID: 100549

                                                                                                                                3


                                                                                             OppSOMF
     Table 2. Defendants’ Summary Judgment Briefs, Plaintiffs’ Oppositions, and Ds Replies
                                                      Defendants as Movant
SJ Brief Doc    Movant       Claims                                  Supporting               Ps Oppositions          Ds Replies
No.                                                                  Doc Nos.
2562-1:                      Breach, Express Warranty;                                        2606:           2616:
Omni SJ Brf     All Ds       Breach, Implied Warranty;                                        Ps Opp Omni Brf Omni Rep Brf
                             Common Law Fraud;
                             State Con. Protection Laws;
                             Ds argue:                                                        2606-2:                 2607:
                             - breach of warranty unproven;                                   Ps Opp SOMF             ZHP Opp
                             - Ps cannot prove Ds proximately                                                         SOMF to
                             caused TPPs economic injury;                                                             Ps Opp
                             - there is a lack of cognizable injury;                                                  SOMF
                             - therefore Ps cannot prove fraud or
                             warranty damages;
                             -Ps cannot prove scienter, therefore
                             -Ps cannot prove punitive damages

2564-1:         ZHP          No Liability over ZHP China and                                  2606-1:
SJ Brf                       Huahai:                                                          Ps Opp ZHP Brf
                             As neither entity sold VCD pills in
                             the US, they can bear no liability;
                                                                                              2606-2:                 2607:
                             Common Law Fraud Argument:                                       Ps Opp SOMF             ZHP Reply
                             - ZHP VCDs were not adulterated;                                                         SOMF to
                             -Ps cannot prove Fraud;                                                                  Ps Opp
                             -Ps cannot show scienter, therefore                                                      SOMF
                             -Ps cannot prove punitive damages

2565-1:         Teva         Common Law Fraud Argument:                                       2599:
SJ Brf                       -Teva VCDs were not adulterated;                                 Ps Opp Teva Brf
                             -P cannot show scienter, therefore             2602:             2600:                   2619:
                             -Ps cannot prove punitive damages              Teva SOMF         Ps Supp SOMF-           Teva Opp to
                                                                                              Teva                    Ps Supp
                                                                                                                      SOMF
2570-1:         Torrent      Common Law Fraud Argument:                                       2595:
SJ Brf                       - Torrent VCDs were not                                          Ps Opp Torrent
                             adulterated; and                                                 Brf
                             -Ps cannot show scienter,7 therefore


     7 The Omnibus and Torrent SJ Briefs cite Harris v. Pfizer, Inc. 586 F. Supp. 3d 231 (SDNY 2022) as instructive on whether Ds

     knew their product was contaminated. The Court finds Harris inapposite to the issue of whether the Ds or Torrent may have
     known the valsartan API was at risk of contamination. Ds imply that knowledge of contamination could only have arisen from
     FDA recalls, which brings up a completely circular argument that Ds had no duty under the FDAs cGMPs or USP compendial
     standards to evaluate whether the API was contaminated, and as such presumes material facts in evidence that are actually
     disputed. Which in turn raises a wholly circular legal argument to which the Court does not ascribe.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 4 of 74 PageID: 100550

                                                                                                   4


                      -Ps cannot prove punitive damages.
          The COURT HAVING REVIEWED the parties’ submissions without a hearing in accord
   with Rule 78.1 (b), for the reasons discussed below, and for good cause shown,
   1) On the claim of breach of implied warranty, the Court GRANTS:
       defendants’ Omnibus summary motion for judgment (Doc. No. 2562).


   2) On the issue whether defendants’ affirmations, statements, labelling of their VCDs constitute
   express warranties that their VCDs were the equivalent to the Orange Book formulation,
   the Court GRANTS:
        plaintiffs’ Omnibus motion for summary judgment (Doc. 2569);
    and DENIES:
           defendants’ Omnibus motion for summary judgment (Doc. 2562).


   3) On the issue whether the VCDs sold before the recalls began in July 2018 were adulterated,
   the Court DENIES:
           plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569);
          defendants’ Omnibus summary motion for judgment (Doc. No. 2562);
          ZHP’s, Teva’s, and Torrent’s individual motions for summary judgment (Docs. No.
   2564, 2565, and 2570, respectively).


   4) On the issue whether defendants violated cGMPs and compendial standards in making
   nitrosamine-contaminated API and FD VCDs and in marketing and selling them before the
   recalls began in July 2018,
   the Court DENIES:
           plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569); and
           defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


   5) On the issue whether defendants breached express warranties to plaintiffs in TPL Express
   Warranty Subclass b, the Court DENIES:
          plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569); and
          defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


   6) On the issue whether plaintiffs gave defendants pre-suit notice of the breach of express
   warranty claim,
   the Court DENIES:
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 5 of 74 PageID: 100551

                                                                                                    5


          defendants’ Omnibus motion for summary judgment (Doc. No. 2562);
    and GRANTS:
          plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569).


   7) On the issue whether the statute of limitations limits the filing of breach of express warranty
   claims in some jurisdictions in TPP Express Warranty Subclass b,
   the Court DENIES:
           Ds Omnibus motion for summary judgment (Doc. No. 2562):
    and GRANTS:
           Ps motion for summary judgment (Doc. 2569).


   8) On the issue whether tolling of the statute of limitations for the express warranty claim
   may be justified in some or all jurisdictions in the TPP Express Warranty Subclass b,
   the Court DENIES:
          plaintiff’s Omnibus motion for summary judgment (Doc. No. 2569); and
          defendants Omnibus motion for summary judgment (Doc. No. 2562).


   9) On the issue whether plaintiffs relied on defendants’ express warranties, the Court DENIES:
          plaintiff’s Omnibus motion for summary judgment (Doc. No. 2569); and
          defendants Omnibus motion for summary judgment (Doc. No. 2562).


   10) On the issue of violation of Consumer Protection Statutes,
   the Court DENIES:
           plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569);
           defendants’ Omnibus motion (Doc. 2562); and
           Teva’s motion for summary judgment (Doc. No. 2565),
   EXCEPT the Court GRANTS:
           defendants’ Omnibus motion (Doc. 2562) and Teva’s motion (Doc. No. 2565) for these
   claims in Missouri.


   11) On the issue of fraud , the Court DENIES:
          plaintiffs’ motion for summary judgment against ZHP (Doc. No. 2569); and
          plaintiffs’ motion for summary judgment against Torrent (Doc. No. 2559).


          defendants’ Omnibus motion for summary judgment (Doc. No. 2562);
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 6 of 74 PageID: 100552

                                                                                               6


          defendant ZHP’s motion for summary judgment (Doc. No. 2564);
          defendant Teva’s motion for summary judgment (Doc. No. 2565); and
          defendant Torrent’s motion for summary judgment (Doc. No. 2570).


   12) On the damages issue whether plaintiffs have no cognizable injury,
   the Court DENIES:
          defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


   13) On the damages issue whether plaintiffs’ model of damages cannot establish damages on a
   class-wide basis,
   the Court DENIES:
          defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


   14) On the damages issue whether plaintiffs cannot prove that defendants’ alleged conduct
   and/or misrepresentations proximately caused plaintiffs any injury,
   the Court DENIES:
   defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


   15) On the damages issue whether plaintiffs cannot prove fraud and breach of warranty
   damages,
   the Court DENIES:
   defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


   16) On the damages issue whether plaintiffs cannot prove punitive damages,
   the Court DENIES:
   defendants’ Omnibus motion for summary judgment (Doc. No. 2562),
   EXCEPT
   the Court GRANTS:
           defendant’s Omnibus summary judgment motion (Doc. No. 2562) on the issue that
   plaintiffs cannot prove punitive damages in Nebraska and New Hampshire, for breach of
   express warranty and for violation of Consumer Protection Laws.


          An Order of this date accompanies this Opinion.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 7 of 74 PageID: 100553

                                                                              7
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 8 of 74 PageID: 100554

                                                                                      8


   Table of Contents                                                             7
   Table 1. Ps Summary Judgment Briefs, Ds Oppositions, and Ps Replies           2
   Table 2. Ds Summary Judgment Briefs, Ps Oppositions, and Ds Replies           3


   Court’s Rulings in this Opinion                                               4


   1.0    Background Relevant to the TPP Trial                                   9
          1.1   Generally                                                        9
          1.2   TPP Trial Plaintiffs and Their Claims                            10
          1.3   TPP Trial Defendants                                             11


   2.0    Arguments Regarding Jurisdiction over and Liability of ZHP China and
          Teva Israel                                                            12
          2.1    ZHP                                                             12
          2.2    Teva                                                            17


   3.0    Legal Standard                                                         18


   4.0    Breach of Implied Warranty Claim                                       19


   5.0    Parties Summary Judgment Motions on the Claims                         20


   6.0   Breach of Express Warranty                                              21
         6.1      Background to Ps Breach of Express Warranty Claim              21
         6.2      Whether Defendants Expressed Warranties to TPPs                25
         6.3      Whether Defendants Breaches those Warranties-
   Substantive Issues: Whether VCDs Were Adulterated                             28
                  6.3.1 Genuine Disputes of Material Facts: Specific             31
                  6.3.2 Genuine Disputes of Material Facts: General              32
                  6.3.3 Summary of Genuine Disputes of Material Facts            32
         6.4      Breach of Express Warranty-Procedural Issue: Pre-Suit Notice   33
         6.5      Breach of Warranty-Procedural Issue: Statute of Limitations    38


   Table 3: Express Warranty- TPP Subclass b: State Statute of Limitations       39


          6.6     Whether Plaintiffs Relied on Defendants’ Express Warranty      41
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 9 of 74 PageID: 100555

                                                                                     9


   7.0    Violation of Consumer Protection Laws                                 42
          7.1     Ps Arguments                                                  42


   Table 4. CPL Subclass a Jurisdictions That Do or Not Rely on
   FTCA Guidance to Define “Deception”                                          43


                  7.1.1 “Deception” in Jurisdictions relying on FTCA guidance   43
                  7.1.2 “Unfair” Conduct in Jurisdictions Relying on
                  FTCA guidance                                                 44
                  7.1.3 “ Deceptive”/“Unfair” Conduct in Jurisdictions
                  Not Relying on FTCA guidance                                  45
          7.2     Ds Opposition to the CPL claim                                46
                  7.2.1 Substantive                                             46
                  7.2.2 Procedural                                              46
          7.3     Resolution on the CPL Claim                                   48


   8.0    Common Law Fraud                                                      48
          8.1 ZHP                                                               49
              8.1.1 Ps Arguments                                                49
              8.1.2 ZHPs Arguments                                              50
          8.2 Torrents Arguments                                                51
          8.3 Tevas Arguments                                                   53
          8.4 Resolution of the Fraud Issue                                     54


   9.0    Issues Related to Whether Damages are Owed and
   the Method of Calculating Them                                               55
          9.1     That Ps Have No Cognizable Injury                             55
          9.2     That Ps Damages Model Cannot Establish Class-Wide Damages     57
          9.3     That Plaintiffs Cannot Prove that Defendants’ Alleged
   Misrepresentation Proximately Caused their Economic Loss                     59
          9.4     That Plaintiffs Cannot Prove Fraud or Warranty Damages        64
          9.5     That Plaintiffs Cannot Prove Punitive Damages                 66
          9.6     Resolution of Defendants Omnibus Motion for
   Summary Judgment on Damages                                                  68


   10.0   Conclusion                                                            70
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 10 of 74 PageID: 100556

                                                                                                                                 10


    1.0      Background Relevant to the TPP Trial
    1.1      Generally
           The TPP trial in this MDL concerns only the Valsartan subset of drugs, that is, a generic
    pharmaceutical containing generic Valsartan Active Pharmaceutical Ingredient [“API”] made
    by ZHP at a manufacturing facility in China and fashioned into finished-dose [“FD”] pills by
    ZHP and its subsidiaries listed in fn. 2, and a Torrent U.S. subsidiary as well as Teva U.S.
    subsidiaries, which marketing and sold the pills to consumers in the U.S.
            By 5 Jun 2018, ZHP had been alerted by one of its API customers that its API was
    contaminated with nitrosamines. 8 By the next day ZHP notified Prinston and Solco, its U.S.
    subsidiaries involved in making and/or distributing generic valsartan pills, of the
    contamination. Simultaneously, by early July 2018, the U.S. Federal Drug Administration
    [“FDA”] and several of its counterparts in the European Union, Canada, Denmark, etc.
    discovered that certain batches of generic Valsartan 9, a quite universally prescribed drug to
    lower blood pressure, contained nitrosamines, identified by international medical authorities
    as probable genotoxic carcinogens. The first nitrosamine contaminant found was N-
    nitrosodimethylamine [“NDMA”]. Within a few months, another nitrosamine, N-
    Nitrosodimethylamine [“NDEA”] was found in batches of valsartan pills sold in the U.S. In
    early July 2018, the FDA also notified ZHP of the nitrosamine contamination of its API and
    finished dose pills.
            As used herein, valsartan containing drugs contaminated with nitrosamines are
    referred to as VCDs and includes for this opinion both the nitrosamine-contaminated API as
    well as the finished dose pills manufactured with nitrosamine-contaminated API. The term
    VCDs includes all dosages of finished dose pills and the wide variety of drug formulations that
    comprise either primarily valsartan or a combination of valsartan with other medicaments.
            Prinston began a voluntary recall of ZHPs VCDs on 17 Jul 2018. Both API and FD
    manufacturers [“mfrs”] involved in the TPP trial include the ZHP defendant group-the API and
    FD mfr located in China as well as its finished dose and distribution subsidiaries located in the
    U.S. ZHP sold its API to several FD mfrs located in Israel and India, which include defendants
    Teva and Torrent respectively, also involved in the TPP trial. The greater percentage of VCDs
    sold in the U.S. before FDA disclosure of the contamination had come from ZHPs


    8 To be clear, a genotoxic carcinogen is an agent that causes damage to the DNA in humans. The gene or chromosomal

    damage then initiates carcinogenesis by accelerating growth in the damaged cells as well as increased vascularization which
    promotes faster growth of the damaged cells into cancerous tissue.
    9 Valsartan is the generic name of Diovan®, a patented anti-hypertensive drug the patent for which has expired. It is also used

    in a combination heart failure drug called Exforge®.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 11 of 74 PageID: 100557

                                                                                                     11


    contaminated API. Other API mfrs also made contaminated valsartan API and other FD mfrs
    put that into VCDs sold in the U.S., but those other mfrs are not involved in the TPP trial, only
    the ZHP, Teva, and Torrent groups.
            Sartan drugs, including valsartan, were (and to a large extent remain) drugs of medical
    choice in lowering high blood pressure. It was estimated there were over 2 million Americans
    taking valsartan before the FDA disclosure in July 2015. Since VCDs were widely prescribed
    worldwide and in the U.S., the recalls caused consternation during much of 2019 in the global
    medical community, including the American Medical Association. Certainly by November
    2018, the FDA (and non-U.S. medical authorities) posited the contaminants in the VCDs to be
    the result of changes the API Mfrs had adopted in their manufacturing processes, particularly
    by changing the solvents and the solvent-extracting reagents in those processes. Some API
    Mfrs had adopted manufacturing changes as early as 2012. However, ZHP sold its
    contaminated API at least from 2015 onwards. Thus, contaminated API potentially was present
    in much of the Valsartan drug supply sold in the U.S. from at least 2015 until the recall in July
    2018.
           By late August 2018, plaintiffs had begun filing personal injury individual complaints.
    By October 2018, third-party payors [“TPPs”], who had paid or reimbursed in whole or in part
    for prescriptions of VCDs, ingested by their insureds, US consumers, had filed several
    complaints. On 14 Feb 2019, the Judicial Panel on Multi-District Litigation [“JPML”]
    consolidated all of the individual filings into this MDL, No. 2875. For details of the past five
    years of factual and procedural background of this MDL, see the following: Doc Nos. 675, 728,
    775, 818, 839, 1019, 1708, 1753, 1811, 1825, 1838, 1958, 1974,1994, 2261, 2368, 2343, 2518,
    2529, 2535, 2546, 2555, and 2582.
           The TPP trial concerns claims of certain certified subclasses of plaintiffs against the
    three mfr defendant groups for TPP economic losses in reimbursing, wholly or partly, their
    insureds’ VCDs, sold in the U.S. from 2015 to about July 2018.


    1.2    TPP Trial Plaintiffs and Their Claims
            Plaintiffs include the certified subclasses of TPPs listed below for which MSP is the class
    representative. MSP is an assignee of the insurance claims of two Third Party Payors [“TPP”]—
    pharmaceutical insurers that pay for/ reimburse consumers’ prescription drugs. The two TPP
    assignors of MSP’s economic loss claims are Group Health Incorporated and Health Insurance
    Plan of Greater New York [“Emblem”] and SummaCare, Inc. [“Summacare”]. Plaintiff MSP is
    asserting it should be granted Summary Judgment under Rule 56 on behalf of the relevant,
    certified subclass for each of the enumerated claims:
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 12 of 74 PageID: 100558

                                                                                                                          12


            Breach of Express Warranty against all 3 defendants on behalf of the certified TPP
    Express Warranty Subclass Group b, which includes these jurisdictions: Alabama, Arkansas,
    Florida, Georgia, Mississippi, Montana, Nebraska, Nevada, New Hampshire, New York, North
    Carolina, Ohio, Oregon, Rhode Island, South Carolina, Texas, Utah, Vermont, Wisconsin, and
    Wyoming;
            Breach of Implied Warranty, for the certified TPP Implied Warranty Subclass Group d
    (having granted Ds SJ motion that this claim fails as a matter of law, the Court does not list the
    states in this subclass);
            State Consumer Protection [“CPL”] Laws against all 3 defendants on behalf the of the
    certified TPP Consumer Protection Laws Subclass Group a, which includes those jurisdictions
    where no showing of intent is required to prove deception: Alaska, Arizona, California,
    Connecticut, Florida, Louisiana, Missouri, Nebraska, New Hampshire, New York, North
    Carolina, North Dakota, Oklahoma, Oregon, Pennsylvania, and Washington; 10 and
           Common Law Fraud against all 3 defendants on behalf of the certified TPP Common
    Law Fraud Subclass Group c, which includes those jurisdictions where the scienter standard is
    the highest: Alaska, Arkansas, Colorado, District of Columbia, Florida, Idaho, Iowa, Louisiana,
    Massachusetts, Minnesota, New Jersey, New York, North Carolina, North Dakota, Ohio,
    Oklahoma, Rhode Island, South Dakota, Vermont, Virginia, Washington, Wyoming, and
    Puerto Rico.


    1.3       TPP Trial Defendants
            The TPP Trial defendants are ZHP, Torrent, and Teva as described supra in fns. 2,3, and
    4. As stated above, these defendants either made valsartan API and/or finished it into pills.
    ZHP includes a Chinese API manufacturer and its wholly-owned U.S. subsidiaries that put the
    Chinese-made API into finished dose VCDs. Torrent includes Indian and U.S. FD mfrs that put
    ZHP API into their FD pills. Teva includes an Israeli parent of U.S. subsidiaries that also put ZHP
    API into their FD pills. All three defendants marketed, sold, and distributed their
    contaminated VCDs into the U.S. market.
            Besides seeking summary judgment on each of these four claims for Ps failure to meet
    Rule 56 requirements, Ds also seek summary judgment on several damages issues, including
    that Ps have no cognizable injury, which translates into a request to preclude an award of
    damages to TPPs. In turn, Ps argue they have viable claims for punitive damages for their


    10 Missouri, Nebraska, Oklahoma, Oregon, and Pennsylvania d0 not expressly look to the Federal Trade Commission Act

    jurisprudence to define “deception”, while the rest of subclass a jurisdictions do.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 13 of 74 PageID: 100559

                                                                                                                                  13


    common law fraud claim against all 3 Ds. All parties seek opposing motions for summary
    judgment that the VCDs sold into the U.S. market were or not adulterated as a matter of law.


    2.0      Arguments Regarding Jurisdiction over and Liability of ZHP China and Teva Israel
            Before weighing into the parties’ arguments on summary judgment, as an essential first
    step, the Court looks to arguments that implicitly or expressly relate to this Court’s jurisdiction
    over ZHP China or TLP (located in Israel) because as the non-US entities of the relevant group,
    neither sold any VCDs in the U.S. The Court notes Torrent raised no jurisdictional disputes
    concerning Torrent India.


    2.1      ZHP
            ZHP’s brief in support of its supplemental motion for Summary Judgment (Doc. No.
    2564-1) asserts the Chinese API manufacturer, ZHP China, did not sell VCDs in the U.S. and
    that its US subsidiaries were “indirect” [ a term undefined in the ZHP SJ brief]. Therefore, ZHP
    China can have no liability for TPPs economic loss in reimbursing for the contaminated VCDs
    ZHP U.S. subsidiaries sold here. This argument raises an implicit, unbriefed jurisdictional
    dispute, in that ZHP China may argue, having conducted no direct sales, marketing or
    distribution in the U.S., it has insufficient contacts to any US jurisdiction, which precludes
    jurisdiction by a US court. Further, the Court acknowledges that ZHP has averred in its
    Motions for Leave to File their First and Second Amended Answer (Doc. Nos. 2628 and 2762
    that they aver this Court has no jurisdiction over ZHP China.
            Neither the lack of liability nor the potential lack of US Court jurisdiction argument is
    defensible or plausible. The Court observes that ZHP admits in its Answer to the Third
    Amended Complaint (Doc. No. 2549:¶¶76-78) that ZHP China has a 100% controlling interest
    in each U.S. subsidiary, making each a wholly-owned subsidiary. 11 The issue of ZHPs liability is
    resolved if the subsidiaries of ZHP are but divisions of it and lack their own genuine corporate
    identity.


    11 The definition of a wholly-owned subsidiary, even though deemed a separate legal entity, is that it is 100% owned and

    controlled by the parent, working directly under the guidance and decision-making of the parent. Moreover, even if the
    wholly-owned subsidiary has its own senior management that manages the subsidiary’s day-to-day business operations, when
    the parent dominates all strategic decisions that direct the subsidiary’s business, the subsidiary is deemed but an agent of the
    parent. ABA Publishing (2012), Corporate Counsel Guides Corporation Law, 1st Edition, Chapter 7, The Separate Corporate
    Entity: Privilege & Its Limitations; Piercing the Corporate Veil, pp.92-97.
               Therefore, from the definition of a wholly-owned subsidiary and from the operation of that subsidiary as a vertically
    integrated subdivision of a foreign parent , that subsidiary’s sales, marketing, and distribution of a foreign-produced product
    finished either in the US or elsewhere are deemed directed and controlled by the foreign parent.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 14 of 74 PageID: 100560

                                                                                                                               14


            Mr. Du, Jun testified as a ZHP Rule 30(b)(6) corporate representative in his deposition
    that, at the relevant time of the ZHP recalls in 2018, he was the Vice Chair of the Board of
    Directors of ZHP China, the overarching parent, AND the CEO of Huahai U.S., AND the CEO of
    Prinston Pharmaceuticals, AND the CEO of Solco Healthcare, all ZHP defendants here. Ps
    SOMF:¶¶2-3. Mr. Du also testified that “ZHP (the parent in China) sells its API products
    directly in the U.S. market through Huahai U.S., including both the research and development
    APIs, as well as commercialized APIs.” Id.:¶6. This statement in and of itself suffices to confer
    jurisdiction. Nevertheless, given that ZHP wholly owned all of the subsidiaries in the ZHP
    defendant group in fn. 2, Mr. Du’s assertion as the functional second in command of ZHP
    becomes important in untangling whether these subsidiaries had a separate corporate
    existence, that is, were agents of ZHP, or could have their corporate veil pierced because ZHP
    controlled not only their management but their daily operations.
           Mr. Du’s assertions are borne out by the testimony of another 30(b)(6) corporate
    representative of ZHP, Wang, Hai. Mr. Wang declared he is President of Solco Healthcare,
    AND Senior Vice President of Prinston Pharmaceutical, Inc., AND Senior Vice President of
    Huahai U.S, Inc., AND reported directly to Mr. Du in all of his positions. Id. at ¶4. Solco and
    Prinston are ZHP subsidiaries in the U.S.
            Mr. Wang also testified that Prinston is the corporate body of the ZHP organization,
    which means Prinston acts as the corporate center. Id. at 8. Mr. Du explained: among other
    things, Prinston is the owner of the Abbreviated New Drug Applications [“ANDAs”] of generic
    drugs marketed and sold in the U.S., and Solco is the marketing arm of Prinston. Mr. Wang
    confirmed Solco is a wholly owned subsidiary of ZHP. Id.:¶¶6, 8.
            In their Opp. SOMF, Ps assert that Chen, Baohua, CEO of ZHP and located in China,
    micromanaged efforts at the level of its U.S. subsidiaries to obtain greater market share for
    ZHPs VCDs in the U.S. 12 Ps Opp. SOMF, Doc. No. 2606-2:¶4. Contrary to assertions in Ds
    Omni SJ Mot., ZHP sold FD VCDs directly to Prinston (ZHP Exhs. 153 and 154) and directly flies
    in the face of ZHPs claim of no marketing or selling in the U.S., which precludes its liability for
    contaminated VCDs. Moreover, ZHPs, Huahais, Prinstons and Solcos logos all appeared on
    Solcos Product List (ZHP Ex. 152), thus informing the public that all products in the Solco line
    were from a single entity, but were only from different manufacturing or marketing lines, like
    different car models being sold by a single car manufacturer.
             The Court has examined how the ZHP defendants represent themselves online in order


    12 ZHP Exh. 158, which shows Mr. Chen deciding what market share to target for valsartan at ZHP and the U.S. subsidiaries. Ps

    assert only Mr. Chen was responsible for creating market share targets. Ps Opp. SOMF:4, fn. 4.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 15 of 74 PageID: 100561

                                                                                                                                 15


    to understand what customers and consumers see. The Court takes official notice of the
    Linked-In Page for Huahai US, Inc., which states “Huahai US, Inc. is a wholly owned subsidiary
    of Zhejiang Huahai Pharmaceutical Co. Ltd.” 13 The Court also takes official notice of the
    Organizations page of the Prinston Pharmaceuticals website, which displays the ownership
    structure and wholly owned relationship among ZHP China and the other ZHP entities in this
    matter.14 This Prinston Organizational page bears out what Mr. Du testified to, that Prinston is
    the corporate face in the U.S. of the ZHP conglomerate. The Court finds that ZHPs
    representations of corporate control and governance on its subsidiaries’ websites and in ZHPs
    exhibits, especially regarding Mr. Chen’s persistent, enduring control of the generic drug
    selling and marketing, to be admissions of the vertical integration of ZHP and its subsidiaries.
    To be clear, such integration and admissions depict that the subsidiaries functioned as
    divisions and not as corporations independent of the ZHP parent’s control and governance.
            From Mr. Du’s testimony, from ZHPs admissions of this Court’s personal jurisdiction
    over it, from ZHPs website descriptions and its own Exhibits describing its domination over its
    subsidiaries, the Court finds ZHP China controlled the marketing, sale, and distribution of its
    VCDs in the U.S. Because of ZHP China’s control over its VCDs in the U.S., the Court finds ZHP
    China bears liability for the U.S. sales of FD VCDs, for which the Court has jurisdiction over ZHP
    China and Huahai U.S.
             ZHPs arguments that it and Huahai U.S. are not liable for FD VCDs in the U.S. presents
    an implicit, roundabout attack on this Court’s personal jurisdiction over ZHP China raised for
    the first time only at this summary judgment phase five years into this MDL litigation.
    Intending to avoid a throw-away argument raised by ZHP in its summary judgment motion
    from becoming elevated to a previously unforeseen but increasingly raised matter in the future
    of this MDL, the Court has found that many state and federal jurisdictions rely on similar
    theories—alter ego or agency theory—and substantially similar factors to resolve when the
    subsidiary is either the mere agent of the parent and dominated by it or when33 the corporate
    veil of a parent’s non-liability can be pieced. 15 By listing the case law in fn. 15, the Court

    13 See https://www.linkedin.com/company/huahai-us-inc. (last accessed 15 Feb 2024).
    14 See http://www.prinstonpharm.com/col.jsp?id=171 (last accessed 15 Feb 2024).


    15 1ST CIRCUIT

              Barsoum v. Kinderhook Industries, LLC , Civ. No. 23-10928, 2023 WL 7413409, at *1 ( D. Mass. 8 Nov 2023): Under
    Massachusetts law, to pierce the corporate veil, a court must conclude upon evaluating relevant factors, that the parent
    corporation directed and controlled the subsidiary and used it for an improper purpose, that is, to properly impute liability
    based on agency principles.
              Hernandez–Denizac v. Kia Motors Corporation, 257 F.Supp.3d 216, 223-224 (D.P.R. 2017): there is a presumption of
    corporate separateness that must be overcome by clear evidence that the parent in fact controls the activities of the
    subsidiary. To disregard corporate form, courts conduct a highly fact-specific inquiry. The personal jurisdiction inquiry must
    necessarily focus on a defendant's relationship to the forum State.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 16 of 74 PageID: 100562

                                                                                                                                     16




    2ND CIRCUIT
              Soter Technologies, LLC v. IP Video Corp., 523 F.Supp.3d 389, 411 (S.D.N.Y. 2021 ): Alter ego liability exists where the
    corporation has been so dominated by a parent corporation that its separate identity is disregarded and it primarily transacted
    the dominator’s business rather than its own.
               Miami Products & Chemical Co. v. Olin Corporation, 449 F.Supp.3d 136, 181 (W.D.N.Y. 2020): An indicator of the
    existence of an agency relationship between a parent and its subsidiary is whether the parent would be obliged to enter the
    market directly if the subsidiary were absent because the market is too important to the parent's welfare. Where a subsidiary's
    business is dependent on the parent's business, or vice versa, an inference may often be drawn that the parent controls the
    subsidiary as it would a department.

    3RD CIRCUIT
               In re Clearview AI, Inc. Consumer Privacy Litigation, 585 F.Supp.3d 1111, 1125 (N.D. Ill. 2022): Under Delaware law, a
    parent corporation is held liable for the actions of its subsidiary if the parent directed or authorized those actions.
               Mills v. Ethicon, Inc., 406 F.Supp.3d 363, 393 (D.N.J. 2019): Under New Jersey law, jurisdiction over a foreign parent
    holds only if the subsidiary is an alter ego or agent of the parent determined by these 4 factors: (1) whether the subsidiary is
    doing business in the forum that would otherwise be performed by the parent, (2) whether there is common ownership of the
    parent and subsidiary, (3) whether there is financial dependency, and (4) whether the parent interferes with the subsidiary's
    personnel, disregards the corporate formalities, and/or controls the subsidiary's marketing and operational policies.
               Trinity Industries, Inc. v. Greenlease Holding Company, 903 F.3d 333, 367 (3rd Cir. 2018): To pierce the corporate veil
    under Pennsylvania law a threshold showing is required that the controlled corporation acted robot- or puppet-like in
    mechanical response to the controlling shareholder's demands.
               In re Boltz-Rubinstein, 596 B.R. 494, 507 (E.D. Pa. 2019): Under Pennsylvania law, to obliterate the separate corporate
    status in the parent/subsidiary context, a plaintiff must prove that: (1) the parent exercised sufficient domination and control
    over the subsidiary corporation such that the subsidiary was a mere alter ego of the parent, with no separate existence, and (2)
    injustice will result if the corporate fiction is maintained.

              4TH CIRCUIT
               United States ex rel. Fadlalla v. DynCorp International LLC, 402 F.Supp.3d 162, 193 (D. Md. 2019): The inquiry is
    twofold. First, the Court must determine whether a unity of interest exists between the two entities sufficient to permit
    treatment of the two entities as one. Next, the Court considers whether doing so would produce an inequitable result. The first
    element looks to which formalities have been followed to maintain separate corporate identities, and the second element
    looks to the basic issue of fairness under the facts.
              Chamberlain v. Securian Financial Group, Inc., 180 F.Supp.3d 381, 406 n. 8 (W.D.N.C. 2016): To find that a subsidiary is
    a mere instrumentality of the parent, North Carolina law requires a showing that the parent exercises complete domination,
    not only of finances, but of policy and business practice.

               6TH CIRCUIT
               Mattingly v. R.J. Corman Railroad Group, LLC, 90 F.4th 478, 488 (6th Cir. 2024): Under Kentucky law, two elements
    must be met: “(1) domination of the corporation resulting in a loss of corporate separateness and (2) circumstances under
    which continued recognition of the corporation would sanction fraud or promote injustice.
               Lyngaas v. Curaden Ag et al., 992 F.3d 412, 421 (6th Cir. 2021): Under Michigan law, to pierce the corporate veil, it is
    unnecessary to prove that the parent caused the subsidiary to directly harm complainant; it suffices if parent exercised control
    over subsidiary in such a manner as to wrong plaintiff.
               See also In re Flint Water Cases, 584 F.Supp.3d 383, 399 (E.D. Mich. 2022): Under Michigan law, a plaintiff may seek
    to pierce the corporate veil to hold the defendant parent company liable for the actions of its subsidiary and the decision of
    whether to consider a subsidiary as the parent's alter ego is highly dependent on the equities of the situation, and the inquiry
    tends to be intensively fact-driven.

             7th CIRCUIT
             BCBSM, Inc. v. Walgreen Co., 512 F.Supp.3d 837, (N.D. Ill. 2021): Under Illinois law as a general rule, a parent
    corporation may not be held to account for the liabilities of a subsidiary unless the legal separateness of parent and subsidiary
    has been disregarded in a wide range of corporate matters. Here, the health insurer alleged that the pharmacy company and
    parent corporation were so integrated that the allegedly fraudulent scheme could be attributed to both entities and the Court
    agreed.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 17 of 74 PageID: 100563

                                                                                                                                     17




                8TH CIRCUIT
                Hawkeye Gold, LLC v. China National Materials Industry Import and Export Corporation, 89 F.4th 1023, 1035 (8th Circ.
    2023): Iowa law recognizes corporate subsidiary's separate corporate identity but under exceptional circumstances will
    disregard subsidiary's separate identity, i.e., pierce the corporate veil, where doing so would prevent parent from perpetuating
    fraud or injustice, evading just responsibility or defeating public convenience.
                Sacred Heart Health Services v. MMIC Insurance, Inc., 575 F.Supp.3d 1137, 1191 (D.S.D. 2021): Under South Dakota
    law, the corporate veil may be pierced if two elements are met: (1) the parent controls the subsidiary in such way that renders
    the latter the mere instrumentality of the former, and (2) adherence to the rule of corporate separateness would produce
    injustices and inequities, this second prong is established where the wrong alleged is a result of fraudulent, unjust or illegal
    acts.
                Goellner-Grant v. Platinum Equity LLC, 341 F.Supp.3d 1022, 1028-29 (E.D. Mo. 2018): Under Missouri law alter ego
    theory, courts hold parent companies liable for actions of the subsidiary because of their total control and their improper use
    of the subsidiary, and it is these aspects which cause all activities—and all liabilities—of the subsidiary to become those of the
    parent; in such instances, the subsidiary is simply a shell designed to artificially distance the parent company from what are, in
    reality, its own acts.

                9TH CIRCUIT
                GeoSolutions B.V. v. Sina.com Online, Civ. No. 5:21-08019, 2023 WL 2562392, at *3-5 (N.D. Cal. 27 Oct 23): Under
    California law, to establish an alter ego relationship between a parent and subsidiary requires a prima facie showing (1) there is
    such unity of interest and ownership that the separate entities no longer exist and (2) failure to disregard those separate
    identities would result in fraud or injustice. The unity of interest prong includes 9 factors, but the court need not find every
    factor, it need only conclude that one entity controls the other as to render the latter the mere instrumentality of the former.
                Riot Games, Inc. v. Suga PTE, Ltd., 638 F.Supp.3d 1102 (C.D. Cal. 2022): same as GeoSolutions.
                In re Packaged Seafood Products Antitrust Litigation, 242 F.Supp.3d 1033, 1062 (S.D. Cal. 2017): The alter ego test is
    satisfied where a parent corporation uses its subsidiary as a marketing conduit and attempts to shield itself from liability based
    on its subsidiary's activities. California courts have stated that “[t]he purpose behind the alter ego doctrine is to prevent
    defendants who are the alter egos of a sham corporation from escaping personal liability for its debts.
                Cox v. Global Tool Supply LLC, 629 F.Supp.3d 963, 973 (D. Ariz. 2022): Under Arizona alter ego theory that (1) unity of
    control and (2) observance of the corporate form would sanction a fraud or promote injustice must be shown. Same factors as
    in GeoSolutions and In re Packaged Seafood.

               10th CIRCUIT
               Cyprus Amax Minerals Company v. TCI Pacific Communications, LLC, 28 F.4th 996, 1007 (10th Cir. 2022): Under
    Kansas law, presumption of corporate separateness is overcome only with proof of two elements: if allowing the legal fiction
    of separate corporate structure would result in injustice toward plaintiff, or if the subsidiary is the alter ego of its parent. Ten
    factors are considered to find whether the subsidiary is an alter ego, which are guidelines and not tallied but taken as a whole
    with due regard to the extent to which they were or not fully satisfied.
               Young through Young v. Kerr-McGee Corp., 658 F.Supp.3d 1028, 1035 (E.D. Okla. 2023): Under Oklahoma law, if one
    corporation is simply the instrumentality of another corporation, the separation between the two may be disregarded and
    treated as one for the purpose of tort law. Courts considers the same 10 factors as in Cyprus: 1) the parent corporation owns all
    or most of the subsidiary's stock; 2) the corporations have common directors or officers; 3) the parent provides financing to its
    subsidiary; 4) the dominant corporation subscribes to all the other's stock; 5) the subordinate corporation is grossly
    undercapitalized; 6) the parent pays the salaries, expenses, or losses of the subsidiary; 7) almost all of the subsidiary's business
    is with the parent or the assets of the former were conveyed from the latter; 8) the parent refers to its subsidiary as a division
    or department; 9) the subsidiary's officers or directors follow directions from the parent; and 10) legal formalities for keeping
    the entities separate and independent are observed.
               BASF Corporation v. Willowood, LLC, 359 F.Supp.3d 1018, 1025-1026 (D. Colo. 2019): In Colorado, the agency theory
    of personal jurisdiction is based on the concept that a principal is responsible for the actions of its agent. An agent can make
    his principal responsible for his actions if he is acting pursuant to either actual or apparent authority. An agent may be a
    corporation as well as an individual. As all corporations must necessarily act through agents, a wholly owned subsidiary may be
    an agent and when its activities as an agent amount to doing the business of the parent, the parent is subjected to the in
    personam jurisdiction of the state.
               In re Santa Fe Natural Tobacco Company Marketing & Sales Practices and Products Liability Litigation, 288 F.Supp.3d
    1087, 1214-1215 (D.N.M. 2017): New Mexico follows the alter ego theory in that a subsidiary is an alter ego if it is a mere
    instrumentality of the parent.

              11th CIRCUIT
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 18 of 74 PageID: 100564

                                                                                                                                       18


    provides a sampling of state law cases regarding alter ego/parent domination or piercing the
    corporate veil and does not represent that these jurisdictions correspond to the states named
    in the relevant subclasses. Even though different Circuits and/or districts may have more strict
    approaches to reviewing relevant factors, the Court observes the cases cited in fn. 15 are from
    sufficiently diverse jurisdictions to suggest a general set of standards for showing parent
    dominion over a subsidiary and its liability for subsidiary conduct and/or for piercing the
    corporate veil for liability. Singularly prominent in all these cases is the equity factor. To wit, if
    the Court’s decision— that the parent did not dominate the subsidiary or the subsidiary was
    more than the parent’s agent—would work an injustice, the inequity factor weighs heavily,
    even clearly and convincingly, towards a finding of personal jurisdiction over a foreign actor to
    avoid using the U.S. subsidiary as a shield for its actions.
           As the Court has taken pains to analyze the domination ZHP China exercises over its
    U.S. subsidiaries, equity is only one factor considered. The Court finds that ZHP China is
    subject to this Court’s jurisdiction, and, because of ZHPs domination over its subsidiaries , ZHP
    has incurred its own liability for the U.S. sales of FD VCDs.


    2.2       Teva
            The parties have stipulated, and the Court has ordered, that Teva Pharmaceuticals Ltd.
    [“TPL”], located in Israel, is not a party in the TPP trial and is voluntarily dismissed without
    prejudice from all claims asserted by the TPP Trial Subclasses. Doc. No. 2656. The stipulation
    also states: it has no effect on any other MDL claims asserted against TPL; it shall not be
    construed to prohibit the naming of TPL as a party in MDL matters other than the TPP trial;
    and all parties reserve their rights concerning personal jurisdiction over TPL.
          All three Teva entities in fn. 3 supra are parties to the TPP trial and are U.S.
    headquartered. 16



               Herederos De Roberto Gomez Cabrera, LLC v. Teck Resources LTD, 43 F.4th 1303, 1312 (11th Cir. 2022): There is no
    litmus test for determining if the subsidiary is the alter ego of its parent; instead, a court must look to totality of circumstances.
    Resolution of the alter ego issue is heavily fact-specific and peculiarly within the province of the trial court.
               Alvarez Galvez v. Fanjul Corp., 533 F.Supp.3d 1268, 1283-85 (S.D. Fla. 2021): A parent company can be held liable for
    the acts of its subsidiaries in three ways: (1) an alter ego theory to pierce the corporate veil; (2) vicarious liability based on
    general agency principles; or (3) direct liability where the parent directly participated in the wrong complained of. Under the
    alter ego theory, it must be shown the parent dominated and controlled the corporation to such an extent that the
    corporation's independent existence was in an alter ego of the corporation. Under the agency theories, it must be shown the
    parent exercises control to the extent the subsidiary manifests no separate corporate interests of its own and functions solely
    to achieve the purposes of the dominant corporation.
    16 As an aside, in Tevas SJ Brief (Doc. No. 2565-1), TPL asserted the Court lacked personal jurisdiction over it because it did not

    make, sell, or distribute VCDs in the US, that it is not at home in any US jurisdiction, and that TPL’s relationship to the TPP
    Trial Claims is as an indirect (again an undefined term) parent corporation. For several reasons, the Court would have found
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 19 of 74 PageID: 100565

                                                                                                                                      19


    3.0       Legal Standard
             Summary judgment is appropriate “if the pleadings, depositions, answers to
    interrogatories, and admissions on file, together with affidavits, if any, show that there is no
    genuine issue as to any material fact and that the moving party is entitled to judgment as a
    matter of law.” Fed. R. Civ. P. 56(c). An issue is “genuine” “if the evidence is such that a
    reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,
    477 U.S. 242, 248 (1986). A fact is material if it can affect the outcome of the suit under
    governing law. Ibid. See also Dzielak v. Whirlpool Corp., 83 F.4th 244, 250, 259 (3d Cir. 2023)
    citing SodexoMAGIC, LLC v. Drexel Univ., 24 F.4th 183, 203–04 (3d Cir. 2022) [quoting Anderson,
    477 U.S. at 248]; Kaucher v. County of Bucks, 455 F.3d 418, 423 (3d Cir. 2006) and Healy v. N.Y.
    Life Ins. Co., 860 F.2d 1209, 1219 n. 3 (3d Cir. 1988) [quoting same].
            In bearing the initial burden of proof, the movant must present those portions of the
    record it believes demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.
    Catrett, 477 U.S. 317, 322-323 (1986). If the movant so demonstrates, the burden shifts to the
    non-moving party to “set forth specific facts showing that there is a genuine issue for trial”
    (Fed. R. Civ. P. 56(e); Celotex, 477 U.S. at 324)) through affidavits or otherwise as provided by
    Rule 56 and “identify those facts of record which would contradict the facts identified by the
    movant.” Port Auth. of N.Y. and N.J. v. Affiliated FM Ins. Co., 311 F.3d 226, 233 (3d Cir. 2002). If
    the non-movant fails to do so, the Court must grant summary judgment. Big Apple BMW v.
    BMW of North America, 974 F.2d 1358, 1363 (3d Cir. 1992). In meeting its burden of persuasion ,
    the non-moving party “may not rest upon the mere allegations or denials of” its pleadings and
    must present more than just “bare assertions, conclusory allegations or suspicions” to establish
    the existence of a genuine issue of material of fact. Fed.R.Civ.P. 56(e).
             The evidence introduced to defeat or support a motion for summary judgment must be
    capable of being admissible at trial. Callahan v. AEV, Inc., 182 F.3d 237, 252 n. 11 (3d Cir.1999)
    [citing Petruzzi's IGA Supermarkets, Inc. v. Darling-Delaware Co., 998 F.2d 1224, 1234 n. 9 (3d
    Cir. 1993)]. Speculation, conclusory allegations, suspicions, or mere denials do not suffice to
    raise a genuine issue of material fact (Jutrowski v. Township of Riverdale, 904 F.3d 280, 288-289
    (3d Cir. 2018)) nor does reliance on the pleadings. Anderson, 477 U.S. at 256. Rather, the non-


    personal jurisdiction over TPL on a general jurisdiction basis (see Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.
    408, 415 (1984) [citing Perkins v. Benguet Consolidated Mining Co., 342 U.S. 437, 438, 445 (1952)] because of:
    -Teva’s own documents clearly evidencing that TPL’s exerted continuous control over quality compliance and oversight by
    issuing Corporate Standards for, among other things, auditing API Manufacturer (Ps Exhibit:TEVA-MDL2875-00155644);
    -TPL’s statements of complete corporate unity regarding compliance and risk assessment on its 2023 annual 10K filing on
    Edgar (The Court acknowledges that listing on the NYSE secures no personal jurisdiction); and
    - this Court’s official notice of the near identity of TPLs website with Teva USA’s website, especially as regards corporate
    governance, and compliance and integrity.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 20 of 74 PageID: 100566

                                                                                                                               20


    moving party “must present affirmative evidence … from which a jury might return a verdict in
    his favor.” Ibid.
             In evaluating whether a genuine issue of material fact exists, the court considers all
    facts and ambiguities in the light most favorable to the non-moving party (Anderson, 477 U.S.
    242, 255; Burton v. Teleflex Inc., 707 F.3d 417, 425 (3d Cir.2013)) and draws all reasonable
    inferences in their favor. Burns v. Pa. Dep’t of Corr., 642 F.3d 163, 170 (3d Cir.2011). The court
    decides not “the truth of the matter,” but whether a genuine issue of material fact necessitates
    a trial. Anderson, 477 U.S. at 242. Therefore, the court neither weighs evidence nor makes
    credibility judgments as these tasks are for the fact-finder. Petruzzi's IGA Supermarkets, 998
    F.2d at 1230.
           When contradictory, material facts are presented, a genuine issue is raised, which
    undercuts a decision for summary judgment. However, even with a presentation of
    contradictory facts, there may be no genuine fact dispute when one party fails “to make a
    showing sufficient to establish the existence of an element essential to that party's case, and
    on which that party will bear the burden of proof at trial.” Celotex, 477 U.S. at 322–23. When a
    movant has completely failed to show an essential element of its case, all other facts are
    immaterial. Id. at 323; Katz v. Aetna Cas. & Sur. Co., 972 F.2d 53, 55 (3d Cir.1992).


    4.0      Breach of Implied Warranty Claim
            Preliminary to the discussion on the breach of express warranty and fraud claims and
    violation consumer protection laws, the Court notes that Ds have successfully shown (Ds Omni
    SJ Brf, Doc. No. 2652-1:12-16) and Ps have acknowledged (Ps Opp. to Ds Omni SJ Mot., Doc.
    No. 2606-1:12) that the claim for Breach of Implied Warranty for TPP subclass d is not
    actionable. The required element of privity between the parties is lacking. Specifically, the
    TPPs and the API and FD mfrs were not in privity with each other regarding TPPs
    reimbursement of their insureds’ VCDs, which constitutes TPPs economic loss damages. .
           Accordingly, the Court GRANTS defendants Omnibus motion for summary judgment
    (Doc. No 2562) that none of ZHP, Teva, or Torrent is liable for Breach of Implied Warranty
    Claim in TPP subclass group d. 17 By granting Ds Omni SJ Mot. on this claim, the Court makes


    17The Court does not reach here the issue of whether the VCDs were merchantable. In their Omni SJ Brf. (Doc. No. 2562-1), Ds

    sought summary judgment on the merchantability of the VCDs under two separate arguments: first, under the breach of
    implied warranty claim. While granting Ds summary judgment on the breach of implied warranty claim, the Court has made
    no express finding on the merchantability of the VCDs. Second, Ds raised similar arguments in Section 9.1 infra stating Ps had
    No Cognizable Injury. There the Court has expressly stated Ps worthlessness theory raises a genuine issue of material fact and
    leaves that for the fact-finder.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 21 of 74 PageID: 100567

                                                                                                     21


    no express or implied finding on the merchantability, worthlessness, or value of the VCDs at
    issue, and further states that no finding, decision, or resolution on the worthlessness or
    merchantability of the VCDs shall be construed by the Court’s grant. Rather, the Court grants
    Ds Omni SJ Mot. because Ps appear to have expressly withdrawn the breach of implied
    merchantability claim from the TPP trial. Ps Opp. to Ds Omni SJ Mot.:23.


    5.0      Parties Summary Judgment Motions on the Claims
             This section summarizes the parties’ summary judgment filings. See also Tables 1 and 2
    supra.
             Ps Summary Judgment Filings
           Plaintiffs filed 2 summary judgment motions. Ps SJ Mot., Doc. No. 2569 seeks
    summary judgment against all 3 Ds for the claims of breach of express warranty and violation
    of consumer protection laws [“CPL”s], with accompanying brief Doc. No. 2569-1. The same
    motion (Doc. No. 2569) also seeks summary judgment against ZHP for the claim of common
    law fraud, accompanied by brief Doc. No. 2569-2. Ps also filed a summary judgment motion
    against Torrent (Doc. No. 2559-1) for the claim of common law fraud, with accompanying brief
    Doc. No. 2559-1.
         While not filing an individual summary judgment motion against Teva for the claim of
    common law fraud, Ps are still asserting it against Teva in the TPP Trial from the Third
    Amended Consolidated Economic Loss Class Action Complaint (Doc. No. 1708).


             Ds Summary Judgment Filings
            Defendants have filed one Omnibus summary judgment motion (Doc. No. 2562), with
    accompanying brief Doc. 2562-1, against Ps seeking all three claims: breach of express
    warranty, violation of CPLs, and common law fraud be adjudicated as not actionable. Ds Omni
    SJ Brf. also seeks summary judgment on the following issues relating to plaintiffs’ eligibility for
    damages:
            That Ps have no cognizable injury;
            That Ps damages model cannot establish class-wide damages;
             That Ps cannot prove Ds alleged misrepresentations proximately caused TPPs
    economic loss;
            That Ps cannot prove fraud or warranty based damages; and
            That Ps cannot prove punitive damages.
             In addition to Ds Omnibus motion, certain defendants have filed individual SJ motions
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 22 of 74 PageID: 100568

                                                                                                                              22


    against plaintiffs. These include:

            ZHP SJ motion, Doc. No. 2564 with accompanying brief, Doc. No. 2564-1, on issues
    relating to the fraud claim and particularly that:
            ZHP VCDs were not adulterated;
             Ps cannot prove fraud;
            Ps cannot show scienter, therefore cannot be awarded punitive damages.
    ZHP als0 seeks summary judgment that ZHP China and Huahai U.S. bear no liability for any of
    the three claims. For discussion of this argument, see section 2.1 supra.
            Teva SJ motion, Doc. No. 2565 with accompanying brief, Doc No 2565-1, on very similar
    fraud claim issues as ZHP’s motion, particularly that:
            Teva VCDs were not adulterated; and
            Ps cannot show scienter, therefore Ps cannot be awarded punitive damages; and
            Torrent SJ motion (Doc. No. 2570) with accompanying brief, Doc. No. 2570-1, on very
    similar fraud arguments as ZHPs and Tevas, particularly that:
            Torrent VCDs were not adulterated; and
            Ps cannot show scienter, therefore Ps cannot be awarded punitive damages.


    6.0      Breach of Express Warranty
    6.1      Background to Ps Breach of Express Warranty Claim
            For the TPP Trial, the only mfr of generic valsartan API is ZHP, which produced the API
    in China. The U.S. subsidiary of ZHP, Prinston, holds one or more Abbreviated New Drug
    Applications [“ANDA”] 18 for generic valsartan API and FDs, which are listed in the FDA’s
    Orange Book. 19
           ZHP API became contaminated with genotoxic carcinogens, NDMA and NDEA, when
    ZHP changed its manufacturing process twice after about 2011. ZHP sold its API to Teva and
    Torrent and these FD mfrs put the ZHP API into pills. Contaminated VCDs were marketed and
    sold by ZHP and its subsidiaries as well as Teva and Torrent in the U.S. market since at least
    2015. Generic valsartan is a prescription drug only and a drug of choice for treating high blood


    18 The FDA approves a generic drug product for inclusion in the Orange Book when it has been the subject of an ANDA, which

    is a request to the FDA to make and market a generic drug in the U.S. The ANDA does not require the applicant to conduct
    clinical trials. A fundamental criterion of Orange Book inclusion is that the ANDA-approved drug must be bioequivalent to the
    brand-name drug or Reference Listed Drug [“RLD”], which the applicant shows by testing its drug against the brand-name
    version on a small group of test subjects.
    19 The publication, Approved Drug Products With Therapeutic Equivalence Evaluations (the List, commonly known as the Orange

    Book), identifies drug products that the FDA under the Federal Food, Drug, and Cosmetic Act [“FD&C Act”] has approved on
    the basis of their safety and effectiveness.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 23 of 74 PageID: 100569

                                                                                                                                  23


    pressure. Before the FDA became aware in July 2018 of the nitrosamine contamination in
    VCDs made with ZHP API and the voluntary recalls began removing VCDs from the U.S.
    market, most valsartan pills sold in the U.S. contained ZHP API. Thus, many U.S. consumers
    with high blood pressure were taking contaminated VCDs. When the nitrosamine-
    contamination became known, physicians, and indeed the FDA, scrambled to give reliable
    advice to consumers about continuing to take the contaminated VCDs. The “scrambling” was
    because the FDA had calculated that taking the highest dose of contaminated VCD for about 4
    years increased a consumer’s risk of cancer to 1 in 8000. The implicated cancers were more
    likely to be liver, lung, and stomach. The VCD contamination in the U.S. market was
    considered frightening, dangerous, and anxiety-provoking 20 as physicians and consumers
    weighed the health benefit of keeping their blood pressure lowered to avoid stroke and heart
    failure against the increased risk of developing cancers with high morbidity and mortality
    rates.
           Not only validating ANDA generic drug applications and approving sale of the generics,
    the FDA continues its efforts through the life cycle of drug manufacturing and marketing to
    ensure the quality of generic drugs. In fact, the ANDA approval process includes not only the
    FDA’s testing that the drug composition itself is safe and equivalent to the RLD, but also FDA
    oversight that the generic mfr complies with Current Good Manufacturing Practices
    [“cGMPs”]. cGMPs come from several sources, the most important of which is the Code of
    Federal Regulations specific to the Food Drug and Cosmetic Act [“FD&C Act”] and which detail
    how to comply with the FD&C Act. 21 FDA assessors and investigators rely on federal cGMP
    regulations to determine whether the generic mfr has the necessary facilities, equipment, and
    capability to manufacture the drug it intends to market.
           The federal cGMP regulations for drugs contain minimum requirements for the
    methods, facilities, and controls used in manufacturing, processing, and packing of a generic
    drug product. Importantly, an ANDA is often accompanied by a Drug Master File [“DMF”],
    which a generic manufacturer submits to the FDA to give confidential, detailed information
    about facilities, processes, or materials used in the manufacturing, processing, packaging, and


    20 Patrice Wendling, Generic Valsartan Abandoned After Recalls, ED Visits Rise, MEDSCAPE, November 13, 2019.
    21 The relevant portion of the U.S. Code of Federal Regulations [“CFR”] is in Title 21, which interprets the FD&C Act and related

    statutes. The pharmaceutical or drug quality-related regulations appear in several parts of Title 21, including sections in parts
    1-99, 200-299, 300-499, 600-799, and 800-1299.These regulations describe the regulatory requirements that ANDA applicants
    and drug manufacturers must follow. In particular, the relevant regulations for the TPP Trial can found here:
    21 CFR Part 314 For FDA approval to market a new drug.
    21 CFR Part 210. Current Good Manufacturing Practice in Manufacturing Processing, Packing, or Holding of Drugs.
    21 CFR Part 211. Current Good Manufacturing Practice for Finished Pharmaceuticals.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 24 of 74 PageID: 100570

                                                                                                                         24


    storing of their generics. For ANDAs from a foreign manufacturer, DMFs are required.
    Although not formally approving DMFs, the FDA does review them as a source of reinforcing
    information in its approval of an ANDA.
             Throughout the period when the mfr makes the ANDA-approved generic, FDA
    investigators are expected to regularly monitor the compliance of drug manufacturers with
    cGMPs. For generic mfrs outside the U.S., such monitoring includes site visits by FDA
    investigators who review the entire manufacturing process, including the manufacturing
    facilities and the administrative / corporate / quality assessment / risk prevention procedures
    for ensuring fail-safe quality and purity in their generic drugs. As federal regulations, these
    cGMPs aim to ensure a generic drug is safe by requiring the drug to actually contain
    ingredients and exhibit the strength and efficacy the manufacturer tells consumers and
    insurers that it has.
             Federal cGMP regulations are such important regulatory requirements for generic drug
    mfrs, whether foreign or domestic, that when a drug mfr fails to comply with these, their API
    and FD pills become unsafe. The Orange Book lists the chemical composition of the RLD to
    which the composition of the accompanying generic must match in terms of chemical formula
    and amounts of each element. Generally, inclusions of chemical ingredients other than those
    listed in the Orange Book does not mean the generic is removed from the Orange Book or
    recalled from the market so long as these ingredients, also called impurities, do not affect the
    relative equivalence of the generic to the RLD. Almost all generics contain “impurities”,
    ingredients that differ from the RLD. However, when the generic drug contains a harmful
    impurity not listed in the RLD, the generic is said to be “contaminated”, which is not
    necessarily a term of art but useful to distinguish that a generic drug that will be recalled from
    one containing mere impurities. 22
           Besides the cGMPs found in the federal regulations of the FD&C Act that generic mfrs
    must comply with, cGMP requirements are found in other statutes and accompanying
    regulations. By no means does the FDA exclude these in its regulatory regime but actually
    explains these in special documents called FDA guidances, 23 which can also become
    requirements for drug mfrs. In addition, the U.S. Pharmacopeial Convention is a private, non-
    governmental organization that publishes the United States Pharmacopeia [“USP”] and the
    National Formulary [“NF”] as official compendia of the United States. Much of the USP and NF



    22 These paragraphs on FDA background, etc. come directly from information provided on the FDA’s own website, last

    accessed 13 March 2024.
    23 See https://www.fda.gov/regulatory-information/search-fda-guidance-documents. (Last accessed 13 March 2024).
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 25 of 74 PageID: 100571

                                                                                                                         25


    is legally enforceable, 24 meaning generic drug mfrs have to comply with the compendia of
    these organizations. Under Federal law, a drug with a name recognized in USP–NF must
    comply with the current version of compendial standards deemed official by USP, or risk being
    deemed adulterated, misbranded, or both. See FD&C Act §§501(b) and 502(e)(3)(b) and the
    corresponding FDA regulations at 21 CFR 299.5(a & b). Drugs recognized in the USP must
    comply with identity standards as well as with standards for strength, quality, and purity,
    unless labeled to show all respects in which the drug differs. See FDCA 501(b) and the
    corresponding Federal regulations at 21 CFR 299.5(c).
             When the FDA finds that a drug mfr has not complied with required cGMP regulations
    or USP compendial standards, it has the authority to issue various regulatory actions, including
    an FDA Form 483 observation (“inspectional observation”) or a Warning Letter. After
    conducting a routine inspection of a mfr’s plant, the FDA inspector may issue a 483 observation
    to describe any one or more of a wide array of potential regulatory violations relating to the
    overall facility, equipment, processes, controls, products, employee practices, and/or records.
    Most common reasons for a 483 observation include safety, quality, testing procedures not
    fully followed and poor or inadequate investigations of discrepancies or failure found in the
    drug product or the manufacturing process. 25
            If the mfr does not demonstrate complete resolution of the problems raised in the 483
    observation, the FDA escalates its engagement by issuing a Warning Letter, which is a
    regulatory action limited only to violations / deviations from the FD&C Act §501 (21 U.S.C. 351)
    related to human drug manufacturing. The generic mfr is obligated by law to rectify the
    violations described in a Warning Letter.
             Besides dealing with the FDA for violations of cGMPs, if a generic drug manufacturer
    fails to comply with federal cGMP regulations and guidances and USP compendial standards in
    their manufacturing practices, they can be sued for various legal claims. Such legal claims arise
    from the manufacturer’s mislabeling, also known as misbranding, either the ingredients, or
    ingredient quantity, or the generic pill’s purity, safety, equivalence to the RLD to which it must
    closely conform. Plus, legal claims can arise from the manufacturer’s non-compliance with
    cGMP guidelines. For clarity, it is compliance with cGMPs that ensure drugs are safe to
    market.


    24 Except that USP general chapters numbered above 999 provide only general information and do not contain any mandatory

    requirements. General information chapters might include some recommendations that may help a firm meet cGMP
    requirements.
    25
      The generic mfr must respond to a FDA 483 observation in writing within 15 days. The FDA inspector often
    provides on the spot a draft inspection report, known as an Establishment Inspection Report, or EIR.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 26 of 74 PageID: 100572

                                                                                                   26


            Grounded in the failure to comply with cGMPs or compendial standards, legal claims
    against generic drug mfrs can include breach of express warranty, violation of consumer
    protection laws, and fraud. And, these claims are precisely what Ps have asserted against ZHP
    as the API mfr and Teva and Torrent as the FD mfrs.
            Importantly to Ps claims, when the evidence shows a generic drug manufacturer has
    failed to meet cGMP regulations and USP compendial standards in the manufacturing or
    marketing of its drugs, the drugs are deemed adulterated under federal law, 21 U.S.C. ¶¶351,
    which states in relevant part:
           “21 U.S. Code § 351 - Adulterated drugs and devices
           A drug or device shall be deemed to be adulterated—
           (a) Poisonous, insanitary, etc., ingredients; adequate controls in manufacture
            ….
           (2) …(B) if it is a drug and the methods used in, or the facilities or controls used
           for, its manufacture, processing, packing, or holding do not conform to or are
           not operated or administered in conformity with current good manufacturing
           practice to assure that such drug meets the requirements of this chapter as to
           safety and has the identity and strength, and meets the quality and purity
           characteristics, which it purports or is represented to possess …
           (b) Strength, quality, or purity differing from official compendium
           If it purports to be or is represented as a drug the name of which is recognized in
           an official compendium, and its strength differs from, or its quality or purity falls
           below, the standard set forth in such compendium.” [emphasis added]
    21 U.S.C.§351(a)(2)(B) and (b).


    6.2    Whether Defendants Expressed Warranties to TPPs
            The above discussion contextualizes the bases for Ps claims of breach of express
    warranty, violation of consumer protection statutes, and fraud. These claims arise from Ps
    assertions that all 3 defendant manufacturers failed to comply with cGMPs in making the VCDs
    and in testing their safety and purity equivalence to the RLD. Ps further assert that Ds knew
    their VCDs did not so comply, which, Ps aver, grounds their fraud claim.
           Moreover, because of their individual cGMP failures, the VCDs should be deemed
    adulterated under federal law. Because of that adulteration, everything Ds expressed about
    the VCDs equivalence to the RLD in terms of safety, quality, even identity constituted
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 27 of 74 PageID: 100573

                                                                                                                                  27


    warranties about those qualities, which were breached because Ds statements were false,
    deceptive, and fraudulent.
          As for the breach of warranty claim, Ps Omni SJ Brf., Doc. No. 2569-1:2 seeks summary
    judgment on the following issues:
    -that Ds failed to meet cGMPs and compendial requirements in making and testing the VCDs
    for quality and safety;
    -that such failure rendered the VCDs adulterated;
    -that Ds branding their VCDs as generic valsartan expressed a warranty that the VCDs were
    equivalent to the RLD in terms of quality and safety, which Ds breached because their VCDs
    were adulterated;
    -that, since the VCDs were adulterated but not revealed to contain nitrosamines until July
    2018, had the FDA known of the adulteration, the VCDs would not have been sold from the
    time of contamination and were unmerchantable;
    -that TPPs reimbursed for unmerchantable VCDs from 2015 to the time of VCD recall, they are
    owed damages in the amount of what they paid for their insureds VCDs.
            Ps cite this Court’s Motion to Dismiss Opinion [“MTD”] 3 as support that Ds very
    naming of their VCDs and marketing them in the marketplace as valsartan rose to a warranty
    of the VCDs purity, safety, and equivalence to the RLD. Ps aver, as in their Motion to Dismiss
    arguments, that each D affirmed and described their FD VCDs as FDA approved “valsartan”,
    which, because of how the Orange Book identifies generic drugs, expressed “valsartan” as the
    generic or therapeutic equivalent of the RLD, Diovan®. 26 Ps Omni SJ Brf:6-8. Ps also aver Ds


      26 In its Preface to the Orange Book (Current Edition), the FDA explains what the Orange Book is and how it’s intended to be

    used.
                “…The FDA Inclusion of products in the Orange Book is independent of any current regulatory action being
                taken administratively or judicially against a drug product. In addition, the Orange Book contains
                therapeutic equivalence evaluations for approved multisource prescription drug products. These
                evaluations have been prepared to serve as public information and advice to state health agencies,
                prescribers, and pharmacists to promote public education in the area of drug product selection and to
                foster containment of health care costs. ”
    See https://www.fda.gov/drugs/development-approval-process-drugs/orange-book-preface#tecode. (last accessed 4
    Mar 2024).
                Moreover, a search for “valsartan” in the Current Orange Book listings shows that Discontinued VCD products no
    longer have AB status, which is that status the FDA applies to generics it considers to be therapeutically equivalent to another
    product. (https://www.accessdata.fda.gov/scripts/cder/ob/search_product.cfm) (last accessed 4 Mar 2024).

              Interestingly, also in its Preface to the Orange Book (Current Edition), the FDA states:
              “Therapeutic equivalence evaluations in this publication are not official FDA actions affecting the legal status of
              products under the FD&C Act. “ [emphasis added].
    Thus, the FDA’s own statements create a once and future confusion about the legal meaning of its therapeutic equivalence
    [“TE”] evaluations. On the one hand, TEs are meant to promote guidance on drug selection—which could be argued sets forth
    a warranty about the generics pharmaceutical equivalence to the RLD. On the other hand, TEs are apparently not intended as
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 28 of 74 PageID: 100574

                                                                                                                                       28


    use of Orange Book descriptions of their product as valsartan warranted that their VCDs were
    therapeutic equivalents [“TEs”] of the RLD. Id.:7-8.
             At the motion to dismiss stage, the Court found it important not to dismiss Ps claim of
    express warranty breach. There Ps had successfully argued the drug mfrs’ labelling of its drug
    with the same name as the RLD could stand as a warranty because of TPPs, unable to
    independently confirm they paid for uncontaminated valsartan, relied on Ds statements.
             Ds assert Ps cannot prove Ds made an express warranty on which TPPs relied (Ds Omni
    SJ Brf.: 16-18) and further argues Ps cannot even prove each D made express warranties (Ds
    Opp. Brf: 7-12). Ds aver that this Court’s MTD 3 opinion cannot support that Ds made such
    warranties. Ibid. In the alternative, Ds assert, even if the Orange Book label does express a
    warranty, since their VCDs contained only trace levels of NDMA or NDEA, Ds cannot have not
    violated any such purported warranty. The VCDs remained pharmaceutically equivalent and
    bioequivalent to the RLD. Ds Opp. Brf. Ps SJ Brf.:17, citing the Class Cert. Op. The Court
    points out that Ds citation to its Court’s Class Cert. Op. does not support their “bioequivalent”
    assertion. In its Class Cert. Op., the Court expressly refused to wade into the meaning of
    bioequivalence or therapeutic equivalence, leaving those terms for the fact-finder to define.
    Ds assertion is just that, nothing more.
           The Court finds a genuinely disputed, material fact is whether Ds labelling of the VCDs
    by the Orange Book designation “valsartan” signifies Ds warranty as to the purity, identity, or
    any other quality of the VCDs. Other genuinely disputed, material facts relate to Ps assertions
    that other of Ds statements were also warranties: in particular, that VCD package inserts,
    product labels, medical and clinical literature, websites, etc., affirmed that VCDs were FDA
    approved and/or USP compliant, and/or had an AB therapeutical equivalent rating in the
    Orange Book.
            Ps SJ Brf.:6-11 asserts that each D independently described its VCDs as their finished
    dose VCDs as FDA approved “valsartan” that was the generic or therapeutic equivalent of
    DIOVAN® or EXFORGE®, and that their product met all compendial requirements. ZHP Opp.
    SOMF:¶¶26-34, 145-54, 146.5, 154.5; Torrent Opp. SOMF:¶¶ 32, 36-38, 57; Teva SOMF:¶¶ 37-
    40; see Teva Opp. SOMF:¶34 on ZHPs agreement with Teva to provide non-adulterated, non-
    misbranded API. Ps SJ Brf.:7-8 also asserts that statements by other means were also
    warranties. Ps aver that Ds also breached these other warranties because of their non-
    compliance with FDA cGMPs (Ps SJ Brf:8-18) and USP compendial standards (Id.:18-22). The
    legal result of Ds non-compliance, Ps argue, is that their VCDs were adulterated by law

    “official evaluations” (whatever that means), which clearly gets the FDA off the hook of legal liability for any inaccurate TEs,
    such as those for the contaminated VCDs before the contamination was discovered.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 29 of 74 PageID: 100575

                                                                                                                           29


    because every sold VCD was contaminated with nitrosamines. Id.at 22-26.
            Ds dispute whether their identifying VCDs or labelling / packaging them as valsartan
    rose to the level of a warranty, relying on the deposition testimony of Summacare’s and
    Emblem Health’s Rule 30(b)(6) corporate representatives who testified that they personally did
    not receive any of Ds statements about VCDs nor did they believe the TPPs received
    warranties about the VCDs directly from Ds. See Ds SOMF:¶¶84-85. However, Ds argument
    goes to the element of reliance on the warranties, which is discussed infra, and actually
    sidesteps whether Ds statements in labels, websites, literature, etc. expressed warranties of
    the safety and purity equivalence of the VCDs to the RLD.
            In disputing that their contaminated VCDs were adulterated, Ds imply that naming the
    VCDs “valsartan” could not have been a breach of warranty. See Ds SOMF:¶¶70, 89, which
    states without more that the VCDs were pharmaceutically equivalent to the RLDs and thus the
    impurities were ipso facto within acceptable limits, which is an argument advanced by one of
    Ds experts. 27 Additionally, Ds dispute whether the nitrosamine contamination was even
    sufficiently high to be deemed anything other than an impurity and thereby acceptable by FDA
    and USP compendial standards. Torrent Opp. SOMF:16; Teva Opp. SOMF:¶8. 28 In not directly
    addressing whether their statements were warranties, Ds skip to the issue whether Ds
    breached such warranties. The Court finds that the issue of whether Ds statements, wherever
    expressed, were warranties is not genuinely disputed and is a material fact. The Court agrees
    with its MTD 3 Opinion and with Ps declarations (SJ Omni Brf.:7) that Ds labelling of the VCDs
    as valsartan constituted an express warranty.
           Accordingly, the Court GRANTS plaintiffs’ Omnibus motion for summary judgment
    (Doc. 2569) on the issue that defendants’ affirmations, statements, labelling of their VCDs
    constitute express warranties that their VCDs were the equivalent to the RLD.


    6.3  Whether Ds Breached their Express Warranties to TPPs- Substantive Issues:
    Whether VCDs Were Adulterated
             The discussion moves to whether a genuine dispute of material facts exists as to Ds


    27 Whether the VCDs were adulterated is discussed in the next section infra on whether warranties were breached.
    28 See Ds SOMF:¶70,stating that, when first discovered in the VCDs, the amounts of NDMA and NDEA were within the limits of

    the FDA-approved specifications for unknown impurities during the entire period before recalls. See also Ds SOMF:¶¶75-76,
    stating interim limits for NDMA and NDEA contamination were published by the FDA until December 2019 and by the USP
    until September2020; but see ZHP Opp. SOMF:¶30, stating that all valsartan batches ZHP tested exceeded the FDA limit for
    NDMA. The Court recognizes a genuine dispute exists over material facts of the extent of NDMA/ NDEA contamination of the
    VCDs before recall, which may implicate the amount of damages. But again these arguments do NOT go to the issue of
    whether Ds statements WERE warranties, but to whether the warranties were breached, discussed in the next section infra.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 30 of 74 PageID: 100576

                                                                                                                  30


    breach of their express warranties. The parties’ arguments showcase a vigorous back and forth
    of disputed facts regarding whether there was a breach of warranty, whether Ds complied with
    cGMPs and required standards, and whether VCDs were adulterated,.
            In arguing for Ds breach of express warranties, Ps SJ Omni Brf. puts forward this
    syllogism:
    - All Ds marketed their VCDs as valsartan,
              which made an express warranty that the VCDs sufficiently complied with the safety
              and purity profile of the RLD;
    - Since ZHP did not comply with cGMPs / compendial standards in making and testing its API,
    - its API was ADULTERATED by law;
    - Also, since none of ZHP, ZHPs U.S. subsidiaries, Teva or Torrent complied with cGMPs for
    testing the contaminated API before making contaminated pills and marketing/selling them in
    the U.S.;
    -the finished dose VCDs sold before recalls in July 2018 were adulterated as a matter of law
    under the FD&C Act; 29
    -Therefore, marketing and selling adulterated VCDs breached Ds expressed warranties that
    their sold drugs were the equivalent in safety and purity to the RLD.
            To keep this opinion streamlined, the Court provides only an overview of the parties’
    arguments whether Ds breached their express warranties. Ps assert ZHPs valsartan API
    became adulterated by law because ZHP created two new processes for making the API and in
    each changed the solvent (i.e., a starting point) as well as the chemical reagent for extracting
    that solvent at the end of the process. The changed manufacturing processes differed from
    those ZHP had originally described in its DMF that accompanied Prinston’s ANDAs. The new
    solvents reacted with the solvent extractors in ways that ZHP did not adequately test for or

    29 Drug adulteration is statutorily deﬁned:

                        (a) Poisonous, insanitary, etc., ingredients; adequate controls in manufacture…
                        … (2)…(B) if it is a drug and the methods used in, or the facilities or controls used
                        for, its manufacture, processing, packing, or holding do not conform to or are not
                        operated or administered in conformity with current good manufacturing
                        practice to assure that such drug meets the requirements of this chapter as to
                        safety and has the identity and strength, and meets the quality and purity
                        characteristics, which it purports or is represented to possess; ….

                         (b) Strength, quality, or purity differing from official compendium
                         If it purports to be or is represented as a drug the name of which is recognized in an
                         oﬃcial compendium, and its strength diﬀers from, or its quality or purity falls
                         below, the standard set forth in such compendium. ….
    21 U.S.C. §. 351(a)(2)(B), (b). [emphasis added].
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 31 of 74 PageID: 100577

                                                                                                    31


    consider; these processes ended up creating degradation products of NDMA and NDEA in the
    API. ZHP has admitted that the solvent change and addition of a chemical to extract that
    solvent are the root causes of the NDMA / NDEA contamination in its API.
            Ps aver ZHP did not follow the cGMPs required to discover that its changed
    manufacturing processes would cause nitrosamine formation in the API. In 2015, ZHP began
    selling the nitrosamine-contaminated API to Teva and Torrent who made finished dose
    products from it and started selling them. Ps also aver that no FD mfr complied with required
    cGMPs to test that the API had the safety and purity ZHP claimed it had.
             ZHP and the FD mfrs aver they complied with cGMPs for testing and quality assurance
    because, before the VCD recalls in 2018, it was unknown and/or very difficult to find evidence
    from reputable chemistry sources that disclosed the likelihood of nitrosamine formation in
    ZHPs changed manufacturing processes. It was only after the FDA discovered the nitrosamine
    contamination in Jun 2018 that the FDA itself began to develop a testing regime for
    nitrosamines in the valsartan API. Each D presents evidence of its compliance with known
    “industry standards” of testing for nitrosamines during the period of VCDs sales from 2015 to
    2018. Ds aver the evidence shows they complied with all cGMPs in the manner that was
    recognized as sufficient before the recalls in July 2018. Therefore the API and finished dose
    pills they sold could not have been and were not adulterated by law. Ps aver Ds compliance
    conduct was not only ineffectual but actually failed known standards before the recalls.
          Ds generally, and Torrent and Teva individually, attest that each complied with all
    cGMPs and USP compendial standards for testing, quality assessment, risk assessment, and
    manufacturing of the APIs or Finished Doses. Ds SOMF:¶¶15-33; Teva Opp. SOMF ¶26.
           But see ZHP Opp. SOMF ¶¶43-51, describing:
            FDA’s letter dated 21 Sept 2018 to ZHP listing cGMP violations and including a Form
    483 letter relating cGMP violations revealed upon the FDA’s site visit on 3 Aug 2018 to ZHP’s
    API manufacturing facility;
             FDA’s letter to ZHP dated 28 Sep 2018 advising of an import ban on ZHPs products
    until the cGMP violations were righted;
           the FDA Warning Letter dated 29 Nov 2018 notifying ZHP of significant cGMP
    deviations for their API manufacturing operations and that their API was adulterated.
             Whether Ds complied with cGMPs is a central issue to the breach of express warranty.
    If their non-compliance can be shown, then, as Ps aver, Ds API and Finished Doses could be
    deemed adulterated by law. If undisputed facts show VCD adulteration, then Ds
    representations that their VCDs were equivalent to the RLD were false, which demonstrates a
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 32 of 74 PageID: 100578

                                                                                                   32


    breach of express warranty.
           Ultimately, then, whether ZHPs API was adulterated is the central fact in dispute in this
    matter, not only for the breach of warranty claim but for violation of state consumer protection
    laws and fraud. If the API is found to be statutorily adulterated, then the finished dose
    products were necessarily adulterated. ZHP Opp. SOMF:¶¶23, 47-51, 164-167; Teva Opp.
    SOMF¶¶1-25; Torrent Opp. SOMF¶¶ 6-7, 14-15, 23, 25). And that the FD mfrs sold statutorily
    adulterated VCDS implicates that they did not implement proper quality and risk assessment
    standards to test ZHP’s API.
           It is important to note that ZHP and the FD mfrs vigorously argue that, before 28 Nov.
    2018, the FDA never declared the API adulterated. Ds argue that, as it is only the FDA that can
    declare a drug adulterated as a matter of law, the VCDs sold before the recalls in July 2018
    cannot be deemed adulterated.
            Ps further assert, even without a finding that ZHPs valsartan API was adulterated, the
    undisputed record establishes that ZHP, Teva, and Torrent each independently violated
    CGMPs and could not assure the quality of their respective VCDs, and therefore Ds breached
    their express warranties.


           6.3.1 Genuine Disputes of Material Facts: Specific
             Regarding whether ZHP complied with cGMPs and USP compendial requirements, the
    Court finds a genuine dispute of material fact exists and is raised in ZHPs Opp. SOMF¶¶:57-58,
    60, 61-62, 65, 76, 80, 85-75, 95.5. These paragraphs relate to, among other things, the specifics
    of ZHPs inadequate quality testing on the degradation of the solvent Dimethylformamide to
    NDMA as well as the overall inadequacy of ZHPs risk assessments and quality procedures for
    its API.
            Regarding whether Teva complied with cGMPs and USP compendial requirements, the
    Court finds that a genuine dispute of material facts exists and is raised in, among other places,
    Tevas Opp. SOMF ¶¶:26-29, 33-34,42, 44, 48,51-54, 56-57, 60-69, 71-74, 79, 89-90, 92- 103.
    These paragraphs relate to, among other things, disputes about:
    -whether Teva actually tested ZHPs API
    -what testing Teva should have applied;
    -whether such testing was required because there was no industry-wide knowledge of the
    degradation of ZHPs new solvent into NDMA at that time;
    -the adequacy of Tevas monitoring of ZHP periodic audits; and
    -Tevas possible knowledge about the contamination of the API before ZHPs voluntary recall.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 33 of 74 PageID: 100579

                                                                                                   33


            Regarding whether Torrent complied with cGMPs and USP compendial requirements,
    the Court finds that a genuine dispute of material fact exists and is raised in, among other
    places, Torrent Opp. SOMF ¶¶9-16, 50. These paragraphs relate to Torrent’s compliance with
    cGMPs that required it to test the API independently for contamination, and specifically to:
    -whether, before ZHPs first notice in June 2018 to Torrent of the API contamination, Torrent
    had ever independently tested the API for nitrosamine contamination;
    -whether Torrent was required to do so by cGMPs or industry standards; and
    -whether, after ZHPs first notice, Teva ever independently tested the AP; and
    -whether Torrent should have been independently testing immediately after ZHPs first notice
    because ZHP gave Torrent a second notice that certain batches of API previously thought
    uncontaminated turned out to be so.


           6.3.2 Genuine Disputes of Material Facts: General
          Besides the fact disputes described above, which relating specifically to each
    defendant, the Court also finds these more generalized disputes of fact: .
    -whether warranties were breached because Ds did not conduct sufficient quality control
    testing for nitrosamines and whether cGMPs, USP compendial standards required such
    testing;
    -whether Ds should have known from chemical standards or literature that more stringent
    testing methods than their industry standard were required for nitrosamines;
    -whether Ds chemists should have known the changes to the API manufacturing solvents and
    in the solvent extraction process would result in solvent degradation that formed nitrosamines
    in the API;
    -whether, because of Ds lack of testing etc., the APIs were statutorily adulterated from the
    time the contamination occurred.


           6.3.3 Summary of Genuine Disputes of Material Facts
           Summarizing the above specific and general genuine disputes of material facts above,
    the Court finds the following:
          there is a genuine dispute of material facts whether Ds breached their express
    warranties before the recalls of 2018;
         there is a genuine dispute of material facts whether Ds complied with all required
    cGMPs and compendial standards before the recalls of 2018;
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 34 of 74 PageID: 100580

                                                                                                     34


            there is a genuine dispute of material facts whether the VCDs were adulterated from
    the sale of contaminated VCDs in 2015.


           Accordingly, the Court DENIES Ps motion for summary judgment (Doc. No. 2569) and
    Ds motion for summary judgment on the issues of:
    -whether Ds breached their express warranties to Ps;
    -whether Ds violated cGMPs and compendial standards in making nitrosamine-contaminated
    API and FD VCDs and in marketing and selling them before the recalls began in July 2018, and
    - whether Ds API and VCDs were adulterated before the recalls began in July 2018.
           The Court DENIES ZHPs, Tevas, and Torrents individual motions for summary
    judgment (Docs. No. 2564, 2565, and 2570, respectively) on the issue whether the VCDs sold
    before the recalls began in July 2018 were adulterated.


    6.4    Breach of Express Warranty-Procedural Issue: Lack of Pre-Suit Notice
           In addition to their argument that Ps have failed to show a substantive breach of
    express warranties, Ds assert (Omni SJ Brf., Doc. No. 2562) the express warranty claim fails as
    a matter of law because of failure to prove required claim elements, including:
    -Ps did not give pre-suit notice of the claim to Ds Omni SJ Mot.; and
    -In some jurisdictions, Ps breach of warranty claim is time-barred for not being pled within the
    relevant statute of limitations;
    -Lack of evidence that Ds expressed a warranty to Ps. (Section 6.2 supra resolves this issue).
    -ZHPs SJ Brf. (Doc. No. 2564) also asserts Ps breach of warranty claim fails as to ZHP China
    and Huahai because neither could have made warranties to the TPPs as neither sold VCDs in
    the U.S. (Section 2.1 supra resolves this issue).
            Ps dispute they have not met their burden on this claim, asserting they have put forth
    material facts that indisputably show compliance with the claim standard. In effect, the Court
    is asked to decide as a matter of law whether Ps have proved pre-suit notice and timeliness of
    their warranty claim.
            Before a buyer of goods [which include prescription drugs] can bring a breach of
    warranty claim, Section 2-607(3) of the Uniform Commercial Code requires that the buyer
    “within a reasonable time after [they] discover[] or should have discovered any breach[,] notify
    the seller of breach or be barred from any remedy.” When a party has accepted goods it
    regards as not complying with a stated warranty and before it can file a legal claim, it must first
    notify the seller of the alleged breach within a reasonable time of discovering the breach.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 35 of 74 PageID: 100581

                                                                                                                                     35


            Ds argue this Court’s finding in its MTD 3 that Ds voluntary recalls functioned as pre-suit
    notice was incorrect. They assert that In re Ford Motor Co. Speed Control Deactivation Switch
    Products Liability Litigation, MDL 1718, 2007 WL 2421480 (E.D. Mich. 24 Aug 2007) declared
    recall notices were insufficient as pre-suit notice and demonstrates that the law is well-settled
    in that respect. However, this Court finds that In re Ford and its cited reliance of Perona v.
    Volkswagen of Am., 684 N.E.2d 859 (Ill.App.Ct.1997) and Connick v. Suzuki Motor Co., Ltd., 675
    N.E.2d 584 (Ill. 1996) do NOT support Ds blanket assertion that recall notices are never
    sufficient as pre-suit notice.
            To be clear, the facts in In re Ford, Perona, and Connick concerned very generalized
    recall notices of car manufacturers themselves. Interestingly, these courts found the
    manufacturers’ own recall notices were not specific enough to put even the manufacturers on
    notice of the specific problems that car owners were experiencing. 30 In In re Ford, the subject
    of the voluntary recall was a faulty, or non-functioning, or dangerous speed control
    deactivation switch. The car manufacturers’ voluntary recall notices spelled out neither the
    specific mechanical problem nor the specific cause, but issued but a general recall of cars made
    with a certain period, stating only that the recall related to the speed control deactivation
    switch. The Ford Court followed Connick jurisprudence in requiring the car owner to notice the
    manufacturer with sufficient information to allow it to fix the buyer-complained-of problem,
    and thereby comply with the warranty on the part and/ or the car.
            That is manifestly not the situation here with contaminated drugs, where pre-suit
    notice does not operate as in a mechanical failure to allow the API or FD mfrs to “fix’ the
    problem. Considering the vast differences in warranty fulfillment between automobile parts
    and contamination drugs, the Court finds there are quite limited reasons for recalling a drug: it
    is dangerous, does not work as labelled, or has unknown contraindications that cause
    unintended health consequences. All of these limited reasons for a drug recall translates into
    the buyer’s needing to give much less information to the seller as adequate pre-suit notice.
    The Court also finds that a recalled drug for nitrosamine contamination cannot be remedied
    like a car part so as to fulfill warranty obligations. Accordingly the Court finds pre-suit notice
    to a pharmaceutical manufacturer need not be as specific as that required to a car
    manufacturer.


    30 The Ford Court discussed that plaintiffs, while not giving Ford any notice, alleged individual notice was unnecessary,

    because Defendants had knowledge of the nature of the alleged defect. The Ford court relied on Perona v. Volkswagen of Am.,
    684 N.E.2d 859, 863 (Ill.App.Ct.1997) to find that recall notices do not satisfy the notice requirement. It quoted that: “Even if a
    manufacturer is aware of problems with a particular product line, the notice requirement of §2–607 is satisfied only where the
    manufacturer is somehow apprised of the trouble with the particular product purchased by a particular buyer.” Connick v.
    Suzuki Motor Co., Ltd., 675 N.E.2d 584 (Ill, 1996).
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 36 of 74 PageID: 100582

                                                                                                                          36


           In addition, unlike with the car manufacturer recalls, the voluntary recalls by the
    valsartan drug mfrs in July 2018 identified the specific reason for the recall, which was
    nitrosamine contamination. The follow-on FDA press releases and recalls could not have been
    more specific about its cause, stating that the FDA’s goal was to protect consumers.
          The FDA press release dated 13 Jul 2018, 31 describing the voluntary recalls specifically
    named Solco (a ZHP subsidiary) and Teva, stating:
                     “The U.S. Food and Drug Administration is alerting health care
             professionals and patients of a voluntary recall of several drug products
             containing the active ingredient valsartan, used to treat high blood pressure and
             heart failure. This recall is due to an impurity, N-nitrosodimethylamine (NDMA),
             which was found in the recalled products. However, not all products containing
             valsartan are being recalled. NDMA is classified as a probable human carcinogen
             (a substance that could cause cancer) based on results from laboratory tests.” …
                    “We have carefully assessed the valsartan-containing medications sold in
             the United States, and we’ve found that the valsartan sold by these specific
             companies does not meet our safety standards. This is why we’ve asked these
             companies to take immediate action to protect patients,” said Janet
             Woodcock, M.D., director of the FDA’s Center for Drug Evaluation and Research.
                    The FDA will continue to investigate this issue and provide additional
             information when it becomes available. The agency encourages patients and
             health care professionals to report any adverse reaction to the FDA’s MedWatch
             program.” [emphasis added].
            Clearly, the FDA’s opening notice on 13 Jul 2018 identified with specificity the reason
    for the recall and the cause. Moreover, the FDA’s press release of 30 Aug 2018 32 could not
    have been clearer or more specific that, already by March 2018, the FDA had issued a
    guidance 33 about how to conduct risk assessments for identifying genotoxic impurities,
    including nitrosamines. And if there were any remaining doubt whether Ds were not on notice
    by this litigation that claimed breach of express warranties, by 11 Dec 2018, the FDA had issued
    a warning letter to ZHP, 34 which outlined several manufacturing violations at ZHP’s Chuannan


    31 https://www.fda.gov/news-events/press-announcements/fda-announces-voluntary-recall-several-medicines-containing-

    valsartan-following-detection-impurity (last accessed 2 March 2024).
    32 https://www.fda.gov/news-events/press-announcements/fda-statement-fdas-ongoing-investigation-valsartan-impurities-

    and-recalls-and-update-fdas-current. (last accessed 3 March 2024)
    33 https://www.fda.gov/media/85885/download (last accessed 3 March 2024)
    34 https://www.fda.gov/news-events/press-announcements/fda-warns-api-manufacturer-involved-valsartan-recall-provides-

    information-patients-taking-these (last accessed 2 March 2024).
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 37 of 74 PageID: 100583

                                                                                                                                          37


    facility [where ZHP made valsartan API] including impurity control, change control and cross
    contamination from one manufacturing process line to another.
            Torrent purchased valsartan API from ZHP. As for Torrent’s pre-suit notice, in several
    communications from 10 Jun 2018 to 17 Aug 2018, ZHP clarified to Torrent that its valsartan
    API made by both old and new manufacturing processes contained NDMA. Torrent
    Opp.SOMF:¶¶9-17. By 7 Aug 2018, the European Medical Authority [“EMA”] 35 asked Torrent if
    their FD valsartan product could contain NDEA. Id. at 18. By 17 Aug 2018, Torrent initiated a
    voluntary recall of certain of its VCD finished dose products. 36 Id. at ¶ 21. Torrent also initiated
    a voluntary recall of a related FD product, losartan. 37
           Combining the FDA’s 13 Jul 2018 press release, its 30 Aug 2018 press release identifying
    its March 2018 risk assessment guidance, and its 11 Dec 2018 warning letter to ZHP as a body
    of specific information provided to ZHP as well as to Teva and Torrent, the Court finds there
    was sufficiently detailed and full pre-suit notice that not only personal injury law suits were
    coming but also economic loss ones as well.
           Even though the discussion could end here, the Court continues to plumb the Ford line
    of cases to examine how that jurisprudence, cited by Ds, demonstrates the sufficiency of Ps
    pre-suit notice. In particular, the Illinois Supreme Court in Connick v. Suzuki Motor Co. Ltd., 675
    N.E.2d 584 (Sup. Ct. Ill. 1996) 38 held that direct notice to the seller is not required when
     (1) the seller has actual knowledge of the defect of the particular product; or
     (2) the seller is deemed to have been reasonably notified by the filing of the buyer's
    complaint. 39 Connick, 174 Ill.2d at 589. The Connick holding directly relates to the
    manner of satisfying the pre-suit notice requirement when affirmative pre-suit notice by
    the buyer has been excepted. Connick gives a workable standard for determining when
    proper pre-suit notice has been given for a breach of express warranty claim but not
    directly by the buyer to the seller. The Court finds the Connick two-prong approach may
    be satisfied in the alternative and is not only legally adequate but equitably fair to
    determine when the buyer need not give direct pre-suit notice to the seller. Further, the


    35 The European Unions’ counterpart to the U.S. FDA.
    36 See the FDA update of 22 Aug 2018 on Torrent’s voluntary VCDs recall at the URL in fn. 34.
    37 Moreover, by 3 Jan 2019 Torrent had voluntarily issued its first recall of losartan pills and stated their recall was due to the

    detection of contamination with NDEA.
    38 which Ford cited for legal support of its holding.
    39 “There are instances, however, when a buyer can fulfill the notice requirement without giving direct notice to the

    seller. Direct notice is not required when (1) the seller has actual knowledge of the defect of the particular product
    (Malawy v. Richards Manufacturing Co., 150 Ill.App.3d 549, 103 Ill.Dec. 355, 501 N.E.2d 376 (1986)); or (2) the seller is
    deemed to have been reasonably notified by the filing of the buyer's complaint alleging breach of UCC
    warranty.” … Connick v. Suzuki Motor Co. Ltd., 675 N.E.2d 584, 589 (Sup. Ct. Ill. 1996). [emphasis added].
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 38 of 74 PageID: 100584

                                                                                                                        38


    Court observes that Connick combines prong 1 and 2 into a generalized standard for
    excepting direct notice to the seller:
             “Thus, even if a manufacturer is aware of problems with a particular product line,
             the notice requirement of [UCC] section 2–607 is satisfied only where the
             manufacturer is somehow apprised of the trouble with the particular product
             purchased by a particular buyer.
    Id. at 590 [emphasis added].
            As for Connick prong 1— seller has actual knowledge of the defect—the Court finds that
    prong satisfied by the FDA press releases and warning letters issued throughout 2018 and
    beyond. Even though the Connick prongs are stated in the alternative, the Court chooses to
    consider them additively to shape a more stringently considered analysis. As for Connick prong
    2—filing a complaint in a reasonable period after becoming aware of the problem—on 14 Dec
    2018, MSP, Ps class representative here, filed a TPP class action complaint 40 against ZHP and
    Teva, which included Count 2, Breach of Express Warranty. On 14 Feb 2019, the Judicial Panel
    on Multi-District Litigation transferred MSPs 18-cv-25260 filing into the MDL. Four months
    later, on 17 Jun 2019, Ps filed their First Amended Consolidated Complaint ([“1st Consol.
    Compl.”], Doc. No. 121:¶¶437-445) against all Ds, which included a breach of express warranty
    substantially similar to that filed by MSP in December 2018. The Court is not stating the filing
    of the 1st Consol. Compl. is the reasonable date when Ds had specific pre-suit notice. Rather, it
    relies on the 1st Consol. Compl. only as a yardstick to show MSPs Dec. 2018 filing pleaded fully
    an express warranty claim.
            In probing the third Connick prong that combines prongs 1 and 2—that the
    manufacturer is somehow apprised of the trouble with the particular product purchased by a
    particular buyer, the Court interprets the “somehow” as any means that apprises the seller
    specifically of the warranty problem. Accordingly, the Court finds that the combination of the
    FDA recall notices starting from July 2018 through September 2018 coupled with MSPs 14 Dec
    2018 complaint satisfies beyond quibbling the pre-suit notice prong of the UCC under Connick
    jurisprudence.
           To be clear, in applying Connick’s 3-prong standard additively instead of disjunctively,
    the Court more stringently shows that Ps direct pre-suit notice to Ds is in accord with state
    laws that require pre-suit notice.
          The Court therefore holds, for the avoidance of doubt in cases involving contaminated
    pharmaceuticals, actual notice to the manufacturer of a breach of express warranty may


    40 MSP Recovery Claims, Series LLC v. Huahai US Inc. et al., 18-cv-25260, Doc. No. 1: ¶¶122-129 (S.D. Fla. 2018).
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 39 of 74 PageID: 100585

                                                                                                                                 39


    include drug mfrs’ own recalls coupled with FDA notices that identify the effect of the
    contamination (in this case, increased risk of carcinogenesis) and the cause / suspected cause
    of the contamination) and/or contra-indication. This means that Ps pre-suit notice date may be
    as early as 1 Sep 2018, by which time all 3 Ds had initiated recalls and knew of the cause and
    the suspected breadth of the contamination. See especially the FDA update of 30 Aug 2018
    and the FDA press release of 13 Sep 2018 containing links to the European Medical Authority
    and Canadian Medical Authority’s discussions on the recalls.
            However, the Court applies Connick’s third prong to hold that recalls by the drug API or
    FD mfrs themselves in the fall of 2018 combined with the lawsuit by MSP on 14 December 2018
    serve as more than sufficient, detailed evidence that Ds were apprised that the recalled VCDs
    presented a possibly dangerous situation to consumers and would herald lawsuits for personal
    injury and economic loss. 41 Since the facts here meet all three of Connick prongs alternatively
    and additively for the buyer’s excepted notice, the Court finds that Ps breach of express
    warranty claim does not fail for lack of notice.
           Accordingly, on the issue of pre-suit notice, the Court DENIES Ds Omni motion for
    summary judgment (Doc. No. 2562), finding the evidence shows as a matter of law that Ps
    breach of express warranty claim does not fail for lack of pre-suit notice.42


    6.5      Breach of Warranty-Procedural Issue: Statute of Limitations
           Ds argue Ps express warranty claims are time-barred because a significant percentage
    of them between 2012 and 2019 lie outside relevant statute of limitations. The parties dispute
    various statute of limitations periods and trigger dates for the remaining states in the relevant
    subclass, listed in Table 3.




    41 Especially after the FDA issued a press release in the Fall of 2018 stating acceptable levels of NDMA and NDEA, the API and

    FD mfrs would have been put on particular notice that lawsuits would follow for personal injury and economic loss because the
    FDA had stated the nitrosamine contamination in ZHPs API and sold VCDs exceeded those levels.
    42 Ps Opp.to Ds Omni SJ Mot. (Doc. No. 2606-1:3-4) raised a procedural argument that the Federal Rules of Civil Procedure

    overpower state laws requiring pre-suit notice. In finding such state law pre-suit notices may be satisfied by the Connick
    exception standard, the Court does not reach this procedural argument.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 40 of 74 PageID: 100586

                                                                                                                               40


    Table 3: Express Warranty: State Statute of Limitations for TPP Subclass b


               No Discovery Rule 43                                       Discovery Rule
            4-yr Statute of                   6-yr SOL           4-yr SOL               5-yr SOL             6-yr SOL
     Limitations [“SOL”]
     Arkansas, Georgia,                       Mississippi        Nevada                 Florida              South
     Montana, New York, North                 Wisconsin                                                      Carolina
     Carolina, Ohio, Oregon,
     Rhode Island, Texas, Utah,
     Vermont, and Wyoming


            Ps state:
    -Alabama, Arkansas, Georgia, Montana, Nevada, New York, North Carolina, Ohio, Oregon,
    Rhode Island, Texas, Utah, Vermont, Wisconsin, and Wyoming have codified UCC § 2-725 (for
    sales of goods) with a 4-year statute of limitations, starting when delivery is tendered;
    -Mississippi and South Carolina have codified UCC § 2-725 with a 6-year statute of limitations
    and same delivery date;
    - while Florida has not so codified the UCC but adopted a 5-year statute of limitations. Ps
    Opp.2 Ds Omni SJ, Doc. No. 2606-1:11. Moreover, Ds state that Wisconsin also codified a 6-
    year statute of limitations and that only Florida applies a discovery rule for an express warranty
    breach. Ds Omni SJ Brf:11. However, Ps cite to case law that demonstrates, besides Florida,
    Nevada and South Carolina also have a discovery rule. Table 3 captures all these variations.
            For TPPs economic loss claims for breach of express warranty, tender of delivery occurs
    when the TPP paid for or reimbursed their consumers’ VCDs. This date occurs when the
    consumer paid the pharmacy or dispensary for the VCD script because at that time the
    dispenser will also charge the TPP for its portion of the reimbursement. Thus, the date of VCD
    script purchase serves as the trigger date for express warranty statute of limitations.
             As stated above, on 14 Feb 2019, the Judicial Panel on Multi-District Litigation


    43 Uniform Commercial Code § 2-725 Statute of Limitations in Contracts for Sale.

               (1) An action for breach of any contract for sale must be commenced within four years after the cause of action has
    accrued. By the original agreement the parties may reduce the period of limitation to not less than one year but may not
    extend it.
               (2) A cause of action accrues when the breach occurs, regardless of the aggrieved party's lack of knowledge of the
    breach. A breach of warranty occurs when tender of delivery is made, except that where a warranty explicitly extends to future
    performance of the goods and discovery of the breach must await the time of such performance the cause of action accrues
    when the breach is or should have been discovered.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 41 of 74 PageID: 100587

                                                                                                                              41


    transferred into this MDL the MSPs class action complaint of 14 Dec 2018, 44 which included
    Count 2 for breach of express warranty. Under a Connick analysis as discussed supra, the date
    of the MSPs complaint serves as the start of the proper and formal pre-suit notice of specific
    economic loss claims. For absolute clarity, the Court agrees with Ps Opp. Brf. that the pre-suit
    notice to Ds of the express warranty claim for the TPP Express Warranty subclass b
    indisputably stands as 14 Dec 2018.
            Ps assert also that, if 14 Dec 2018 is deemed the date of pre-suit notice, the statute of
    limitations for breach of express warranty claims would work backwards from then. Ps rely on
    ZHPs SOMF:¶24 that the date of the first U.S. sale of VCDs via their US subsidiaries was 2 Oct
    2015 and continued through ZHPs recall in July 2018. Torrents SOMF:¶5 states the first U.S.
    sale of their VCDs was from January 2015 through recall in July 2018. Tevas SOMF:¶1 states
    the first U.S. sale of their VCDs was from about 21 Mar 2013 through recall in July 2018. In
    those jurisdictions having the most restrictive statute of limitations—4 years—the breach of
    express warranty claims would go back to 14 Dec 2014. In those jurisdictions with the least
    restrictive—6 years—the start date of these claims would be 14 Dec 2012.
            Accordingly, on the issue that the statute of limitations limits the breach of express
    warranty claims in some jurisdictions, the Court DENIES Ds Omnibus motion for summary
    judgment (Doc. No. 2562) and GRANTS Ps motion for summary judgment (Doc. 2569). The
    Court finds that the statute of limitations for express warranty claims in any jurisdiction in TPP
    Express Warranty subclass b works backwards from the pre-suit notice date of 14 Dec 2018.
            Ps Opp. Brf to Ds Omni SJ Mot.:14-17 assertks two arguments for tolling the statute of
    limitations: 1) fraudulent concealment or equitable estoppel and 2) continuous violation
    doctrine. Specifically, Ps assert the TPP Express Warranty subclass b states of Alabama,
    Arkansas, Florida, Georgia, Mississippi, Montana, New York, North Carolina, Ohio, Oregon,
    Rhode Island, South Carolina, Texas, Utah, Vermont, Wisconsin, and Wyoming toll the running
    of the statute of limitations under a fraudulent concealment or equitable estoppel theory.
            Ps fraudulent concealment argument against ZHP is that, when alerted to the
    nitrosamine contamination at least by 27 Jul 2017, ZHP fraudulently concealed it. It was at
    least by that date that a ZHP PhD organic chemist had discovered it and notified ZHP
    management. 45 ZHP Opp. SOMF:¶¶40-42.5. ZHP did not disclose the nitrosamine
    contamination to the FDA from 27 Jul 2017 until the FDA noticed ZHP in July 2018.

    44 See Doc. No. 1 in this MDL and MSP Recovery Claims, Series LLC v. Huahai US Inc. et al., 18-cv-25260, ¶¶122-129.
    45 This chemist is Li, Jinsheng . Dr. Li was employed at a ZHP wholly-owned subsidiary where he worked in a department

    tasked with reviewing degradation products in ZHPs manufacturing processes. On 27 July 2017, Dr. Li sent an email to several
    ZHP management officers and personnel, informing them of the nitrosamine contamination in a precursor of the irbesartan
    API, a related sartan. The email also states such contamination had already been known for valsartan API. Ps SOMF:40-42.5.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 42 of 74 PageID: 100588

                                                                                                   42


           Ps also assert a fraudulent concealment argument against Torrent. On 3 Aug 2018,
    ZHP revealed to Torrent that its valsartan API was contaminated. Torrent, however, did not
    immediately disclose to its consumers and customers that its FD products were contaminated
    but continued to sell them until 17 Aug 2018. Torrent Opp. SOMF ¶15, 21, 53.
            All 3 Ds assert they did not know about the nitrosamine contamination before the FDAs
    notice to them in June 2018. They state they could not have known about it because there was
    an industry-wide lack of understanding and lack of specific guidance in FDA cGMPs or USP
    compendial monographs for testing for nitrosamines. Ds also state not until November 2018
    could they have independently tested for such contamination. That’s when the FDA began
    coming up with answers for what specific testing methods would disclose nitrosamine
    contamination in ZHPs manufacturing processes. Ds SOMF:¶¶71-74. ZHP also avers it was
    unknown to even expect to do such testing as the formation of nitrosamines in ZHPs changed
    manufacturing processes was completely unexpected. ZHP Opp. SOMF:¶¶41.5-51.
            As for the continuous tolling argument, Ps assert that Ds engaged in continuing
    wrongful conduct by not complying with cGMPs from the time the API manufacturing changes
    occurred, which gave Ds the opportunity “not to know” their VCDs were contaminated for at
    least 3 years. Ps Opp. Brf.:17. Although not directly addressing these tolling arguments, Ds
    assert that whether they complied or not with cGMPs at all or continuously is a genuine
    dispute of material facts. Ds Opp. Brf:19-24.
            Accordingly, as tolling of the statute of limitations for the express warranty claim
    depends on the genuinely disputed, material fact of whether Defendants did or not comply
    with cGMPs, the Court DENIES both defendants Omnibus motion for summary judgment
    (Doc. No. 2562) and plaintiffs (Doc. No. 2569) motion for summary judgment. Ps requests to
    toll the statute of limitations for the express warranty claim will attend the fact-finder’s
    resolution on whether Ds knew of the nitrosamine contamination before the FDAs notice to
    them and if they concealed it.


    6.6    Whether Plaintiffs Relied on Defendants’ Express Warranty

           Ds also dispute that Ps have not met the required element of reliance for the express
    warranty claim. Ds primary argument is that no TPP corporate representative testified in their
    respective deposition that they were even aware of the purported warranties. The TPPs
    therefore cannot have relied on Ds warranties about the safety and purity of the VCDs. Ds Omni
    SOMF:¶¶84-85. Ps argue the deposed corporate representatives are not the ones who create
    TPP formularies and consequently would be unaware of whether Ds expressed warranties or
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 43 of 74 PageID: 100589

                                                                                                 43


    not about the VCDs.

           Even so, Ds counter, in making their formulary decisions, such TPP agents do not
    consider statements by the drug mfrs so Ps cannot prove reliance on Ds warranties anyway. Ds
    Omni SJ Brf.:18. However, the Court notes that Ds contradict themselves:
           “These documents and sources [upon which TPP formulary-creating agents rely
           in choosing drugs for their formularies] include medical and clinical evidence
           from the literature, relevant patient utilization and experience, economic data,
           provider recommendations, FDA-approved package inserts, the product label,
           published data from clinical trials, and relevant patient experiences“.
    Ds Omni SOMF:¶122. [emphasis added]. Contrary to Ds assertion in their Omni SJ brief, the
    bolded items may indeed constitute Ds “statements” upon which the TPP formulary-creating
    agents could and did rely.
           Ps deny there was no reliance and assert if TPP formulary-creating agents had never
    gotten statements from Ds that expressed equivalence of the VCDs with the RLD, then those
    agents would never have included the VCDs in their formularies. Ps Opp. SOMF:¶¶83-86, 119).
    The Court finds whether Ps relied on Ds warranties to be a genuine dispute of material fact.
          Accordingly, on the issue of Ps reliance on Ds express warranties, the Court DENIES
    defendants’ Omnibus motion (Doc. No. 2562) and plaintiffs’ motion (Doc. No. 2569) for
    summary judgment.



    7.0    Violation of State Consumer Protection Laws [“CPLs”]

            The certified TPP CPL Subclass a consists of the following states, where no showing of
    intent is required to prove deception: Alaska, Arizona, California, Connecticut, Florida,
    Louisiana, Missouri, Nebraska, New Hampshire, New York, North Carolina, North Dakota,
    Oklahoma, Oregon, Pennsylvania, and Washington.



     7.1    Ps Arguments
            Ps seek summary judgment of Ds violation of CPLs in the jurisdictions above and state ,
    states the elements of a CPL claim (Ps SJ Brf:26):
     1) defendant engaged in conduct proscribed by the act;
    2) and which occurred in commerce; and
    3) because of the proscribed conduct, plaintiff suffered injury and damages.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 44 of 74 PageID: 100590

                                                                                                                     44


    Ps clarify no state in this subclass requires intent to prove a CPL claim.
            As for element 1, Ps assert that all jurisdictions in CPL subclass a have standardized
    language that generally proscribes “deceptive” OR “unfair” conduct. Table 4 shows what
    jurisdictions do or not rely on Federal Trade Commission Act [“FTCA”] guidance to define
    “deception” .


    Table 4. CPL Subclass a Jurisdictions That Do or Not Rely on FTCA Guidance to Define
    “Deception”


                                        CPL Subclass Group a Jurisdictions
                FTCA guidance for “deception”                         Non-FTCA guidance for “deception”

     Alaska, Arizona, California, Connecticut, Florida,             Missouri, Nebraska, Oklahoma, Oregon,
     Louisiana, New Hampshire, New York, North                      and Pennsylvania
     Carolina, North Dakota, 46 Oklahoma, and
     Washington



            7.1.1     “Deception” in Jurisdictions relying on FTCA guidance

            Ps SJ Brf: 26-30 states that under FTCA guidance “deception” must be a material
    misrepresentation likely to mislead a customer acting reasonably under the circumstances, and
    such misleading misrepresentations include false representations, sales of systematically
    defective products, and failure to meet warranty obligations. All three kinds of deception Ps
    assert occurred in this case. They allege substantially similar facts as they did for the breach of
    warranty claim: that Ds falsely represented their VCDs met cGMPs and compendial standards
    and were FDA-approved, generic versions of the RLD, hence FDA-classified therapeutic
    equivalents. ZHP SOMF:¶10, 10.5, 12, 52, 126-134, 145-154.5; Teva SOMF:¶¶37-40; Torrent
    SOMF:¶¶32-37.

          Ps also aver that, after FDA disclosure in July 2018, each D publicly stated that their
    VCDs had presented an “unacceptable carcinogenic risk.” ZHP SOMF: ¶¶ 143, 155; Torrent
    SOMF:¶¶ 21, 47-49; see also Teva SOMF:¶ 102. Ps imply that Ds had some inkling that their


    46
      Plaintiﬀs do not pursue an “unfair” practices claim under North Dakota’s Unfair Trade Practices Law, N.D. Code §
    51-10-01 et seq. because the statute does not provide a private right of action. Trade 'N Post, L.L.C. v. World Duty
    Free Americas, Inc., 628 N.W.2d 707, 710 (N.D. 2001). Plaintiﬀs’ “deceptive” acts claim is made pursuant to North
    Dakota’s Unlawful Sales or Advertising Practices Act, N.D. Code § 51-15-01 et seq.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 45 of 74 PageID: 100591

                                                                                                                                       45


    previous statements (before FDA notice) of VCD purity and safety were deceptive. By Nov
    2018, months after the recall, the FDA determined Ds VCDs were adulterated as a direct result
    of significant CGMP violations.

           Ps assert these facts establish that Ds “deceived” in all Table 4 jurisdictions that follow
    FTCA guidance. Ds made material misrepresentations likely to mislead TPP agents who were
    considering whether to include VCDs in their formularies. In short, Ds deceived by warranting
    the near identity and therapeutic equivalence of the VCDS with the RLD, by not disclosing the
    contamination, and by systematically selling defective, i.e., adulterated, generic drug products.



              7.1.2 “Unfair” Conduct in Jurisdictions Relying on FTCA guidance

            Ps SJ Brf: 31-34 asserts the Third Circuit has dissected the FTCA’s “unfairness” definition
    into 3 prongs: (1) substantiality of the injury; (2) whether countervailing benefits outweigh the
    injury; and (3) whether [plaintiffs] could have reasonably avoided the injury (F.T.C. v. Wyndham
    Worldwide Corp., 799 F.3d 236 at 243-247) and decoded the FTCA to mean defendant’s conduct
    may be adjudicated as both “deceptive” and “unfair” on the same facts. Id. at 245 & n.4.
    Although Ds arguments imply all three prongs must be shown to reach a finding of unfairness
    (Ds Opp. Brf:33-34), the U.S. Supreme Court has treated these prongs as disjunctive, not
    additive. 47

           Even though the elements of the express warranty claim and the CPL claim differ, Ps
    seek summary judgment on the same essential facts as asserted for the warranty claim. They
    aver these facts prove that Ds not only deceived TPPs but were also unfair to them. In
    particular, they aver that Ds VCDs were adulterated before the recalls because of the
    nitrosamine contamination caused by Ds non-compliance with required cGMPs and compendial
    standards. ZHP SOMF:¶¶ 33-34, 52, 61-62, 73, 86, 98, 115, 126-163.2, 165, 167, 170; Teva
    SOMF:¶¶ 8-25, 103-108; Torrent SOMF:¶¶ 23-24, 24(a), 24(b), 47-48, 53.

              Ps also rely on this Court’s Class Cert. Op. for the reason why contamination occurred. 48


    47 “[T]he Supreme Court implicitly approved these factors, apparently acknowledging their applicability to contexts other

    than cigarette advertising and labeling. [FTC v.] Sperry [& Hutchinson Co.], 405 U.S. [233] at 244 n. 5, 92 S.Ct. 898. The Court
    also held that, under the policy statement, the FTC could deem a practice unfair based on the third prong—substantial
    consumer injury—without finding that at least one of the other two prongs was also satisfied. Id.”
     Wyndham, 799 F.3d at 243. [emphasis added].
    48 In Class Cert. Op. Doc. No. 2261 , this Court stated:

               ”Defendants may be hard pressed to refute that their conduct resulted in nitrosamine contamination of
               VCDs; it’s incontrovertible that the FDA recalled lots and batches of presumed-contaminated VCDs for
               several years. It is further incontrovertible in the morass of factual and legal arguments here that the
               contamination resulted from defendants’ non-compliance of cGMPs at some level. Since defendants’
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 46 of 74 PageID: 100592

                                                                                                                                 46


    However, Ps reliance inflates the Court’s meaning. This Court made the statement in fn. 48 not
    to prove any claim against Ds, but to emphasize that, rather than requiring a particularized
    showing from individual plaintiffs, the proposed subclasses all had the same preponderance of
    evidence that could prove their claims.

           Ps assert Ds U.S. sales of millions of adulterated pills satisfy the prong to demonstrate a
    substantial injury for which, Ps aver, there was no countervailing benefit. Ds counter that the
    TPPs insureds received therapeutic benefit, which reduces TPPs economic injury.

            Ps also aver they could not have reasonably avoided the injury. To press this point
    home, Ps argue Ds themselves assert their lack of knowledge of the contamination before FDA
    disclosure. Therefore, how much less likely were TPPs to know of the contamination and be
    able to avoid it. Ps conclude all elements of the FTCA standard to show Ds conduct was “unfair’
    have been met for those CPL Subclass a states relying on FTCA guidance.



             7.1.3 “ Deceptive”/“Unfair” Conduct in Jurisdictions Not Relying on FTCA guidance
            Even though Missouri, Nebraska, Oklahoma, Oregon, and Pennsylvania do not rely on
    FTCA guidance in defining deception or unfair conduct, Ps assert the same evidence and
    analysis as discussed in Section 7.1.2 supra show deception or unfair conduct in these states.
    Although Ps generally cite caselaw that support their proposition, the Court notes Ps citation to
    Pennsylvania caselaw relates to a strict liability standard. The Court provides Pennsylvania
    jurisprudence in the fn. 49 49 in order to confirm Pennsylvania law supports the asserted result.


               conduct in making contaminated VCDs and in putting these into the U.S. drug supply chain, which plaintiffs
               paid for, is incontrovertible, that singular fact grounds all of plaintiffs’ claims.” Id. at 21.
    49 The Pennsylvania Supreme Court in Commonwealth by Shapiro v. Golden Gate National Senior Care LLC, 194 A.3d 1010 (Pa.

    Sup. Ct. 2018) defined the PA CPL standard:
             “The UTPCPL was created to even the bargaining power between consumers and sellers in commercial
             transactions, and to promote that objective, it aims to protect the consumers of the Commonwealth against
             fraud and unfair or deceptive business practices. [citation omitted]. As a remedial statute, it is to be
             construed liberally to effectuate that goal.[citation omitted] ‘An act or a practice is deceptive or unfair if it
             has the capacity or tendency to deceive[,]” and “[n]either the intention to deceive nor actual deception must
             be proved; rather, it need only be shown that the acts and practices are capable of being interpreted in a
             misleading way.’ Commonwealth ex rel. Corbett v. Peoples Benefit Servs., Inc., 923 A.2d 1230, 1236 (Pa.
             Commw. 2007)”. Id. at 1023
    The Golden Gate Court clarified that the PA CPL prohibits more than mere deceptive advertising; it proscribes
    misrepresentation of a good, service and any other fraudulent/deceptive conduct likely to cause confusion or
    misunderstanding. Id. at 1028. The Golden Gate Court held who has standing to sue under the PA CPL is broad indeed and:
               “encapsulates those whose interests were affected by the enjoined conduct, i.e., those who lost money or
               property because of the enjoinable conduct that was found to violate the UTPCPL. This expansive definition,
               which is broader than the statutorily-defined term ‘person,’ furthers the long-recognized directive that the
               UTPCPL be construed liberally to achieve its objective of preventing fraud or unfair or deceptive business
               practices and leveling the playing field between businesses and consumers.” Id. at 1034.
    Considering Golden Gate’s guidance that the PA CPL is to be construed liberally, this Court finds succeeding on such a claim is
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 47 of 74 PageID: 100593

                                                                                                                                 47


    7.2      Ds Opposition to the CPL Claim
             7.2.1 Substantive
            Ds dispute the same facts they do for the breach of express warranty claim. Ds Opp.
    Brf. 37-43 argues, as for the breach of warranty claim, that Ds complied with all cGMPs and
    compendial standards and therefore their VCDs sold before FDA disclosure were not
    adulterated. Also, in their individual briefs, ZHP, Teva, and Torrent each assert Ps cannot
    prove the VCDs were adulterated. ZHP SJ Brf:6, Teva SJ Brf:4-6; Torrent SJ Brf: 8-9 50.
            Ds argue again that Ps have not met their burden of showing non-compliance with
    cGMPs and that all of Ps arguments depend on the same evidence put forth for the express
    warranty claim. As Ps have failed to show that Ds engaged in the necessary elements of a CPL
    violation, Ds can have made no deceptive or unfair representations or omissions about their
    VCDs that invoke a CPL violation. For completeness, Ds aver, even if they did make such
    misrepresentations/omissions, the VCDs provided the therapeutic beneﬁt of lowering blood
    pressure, which reduces Ps damages and imply any misrepresentations cannot have been
    material or unfair. Ds Opp.Brf:41.
            Finding that the parties raise again the same genuine disputes of material fact whether
    VCD adulteration and compliance with cGMPs/compendial standards before FDA disclosure
    shows Ds liability for CPL violations, the Court acknowledges both parties have advanced the
    same evidence for the CPL claim as for the breach of warranty claim. As discussed supra, the
    Court has already found adulteration to be a genuinely disputed, material fact and a question
    for the fact-ﬁnder. That the parties dispute here over the same material facts suﬃces for the
    Court to ﬁnd the CPL claim to be an issue for the fact-ﬁnder.



             7.2.2 Procedural

           Asserting in their Omni SJ Brief:22-23 that Ps CPL claims in certain jurisdictions are
    procedurally defective, Ds seek summary judgment on those claims in: District of Columbia,
    Hawaii, Louisiana, Missouri, Montana, and Ohio. The Court notes none of these jurisdictions,
    except Missouri, is in the relevant CPL subclass a 51 but ﬁnds that the District of Columbia,
    Hawaii, Louisiana, Montana, and Ohio are jurisdictions in the TPP Common Law Fraud Claim


    a fact-intensive exercise.
    50 ZHP in its Opp. Brf. directly addresses only the fraud claim and seeks summary judgment on the issue of adulteration.

    Torrents Opp. Brf. similarly addresses only the fraud claim but also asserts and points to evidence that Torrent made no
    material misrepresentation but does not affirmatively argue evidence specific to the CPL claim. Teva filed no opposition brief.
    51 To reiterate, TPL subclass a includes the following: Alaska, Arizona, California, Connecticut, Florida, Louisiana, Missouri,

    Nebraska, New Hampshire, New York, North Carolina, North Dakota, Oklahoma, Oregon, Pennsylvania, and Washington.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 48 of 74 PageID: 100594

                                                                                                    48


    Group c, where the scienter standard is the highest. As a CPL claim requires deceptive or
    unfair conduct that can amount to a material misrepresentation or omission likely to mislead
    but does not require the defendant’s knowledge or intent that the misrepresentation will
    mislead, violation of consumer protection laws, while often termed “consumer fraud”, need
    not rise to the level of fraud. Consequently, the Court regards Ds inclusion of District of
    Columbia, Hawaii, Louisiana, Montana, and Ohio in the CPL discussion as inappropriate.
            As for the relevant Missouri CPL, plaintiffs who purchase products for commercial
    purposes have no standing to sue under the Merchandising Practices Act [“MMPA”], Mo. Rev.
    Stat. §§ 407.025.1. The Court in In re Express Scripts, Inc., Pharmacy Benefits Mgmt. Litig., MDL
    1672, 006 WL 2632328 (E.D. Mo. Sept. 13, 2006) defined “purchase” to mean “obtaining by
    paying money or its equivalent” and held that a PBA Plan that purchased services for its client
    police officers lacked standing. These services were not purchased for the Plan's personal,
    family, or household purposes as required by the statute, but for a business purpose, i.e., to
    serve the Plan’s clients. Id. at *10. The Court finds that the TPPs do not have standing to sue
    under the Missouri CPL Merchandising Practices Act [“MMPA”], Mo. Rev. Stat. §§ 407.025.1.
            Ds Opp. Brf:36-37 also asserts other procedural deficiencies in Ps CPL claims, namely:
     -different jurisdictions have CPL laws that assert different definitions and conditions of the
    required elements—deceptive or unfair conduct and specifically, some states apply lesser
    standards of evidence while others apply higher standards.
    -those jurisdictions that Ps assert follow FTCA guidance are not bound by that guidance,
    implying the FTCA standards in those states are actually not uniform, but variable;
     - North Carolina and Pennsylvania require reliance on the deception, fraud, or unfair
    representation;
    -Ps have not articulated CPL standards in those jurisdictions that do not follow FTCA guidance.
             Ps Rep.Brf:14-17 counters that:
    -Ds have overstated the variability in CPL standards in FTCA jurisdiction and to some extent
    have mischaracterized differences;
    -Ds assertion that certain jurisdictions following FTCA guidance actually have not done so is
    unsupported by caselaw;
    - Ps cite caselaw supporting their proposition that both North Carolina and Pennsylvania do
    not require reliance.

            The parties also dispute the correctly defined standards of the CPL subclass a
    jurisdictions. From one perspective, disputes over legal standards are but another kind of
    genuine dispute over material facts. That is, such disputes ask the question: what facts are
    required to prove a CPL claim. Put differently, what facts are needed to show whether the
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 49 of 74 PageID: 100595

                                                                                                  49


    VCDs were adulterated before FDA disclosure in order to prove a CPL claim. The Court finds
    that Ps have cited correct, supporting caselaw of the standards in TPP CPL subclass a, with the
    exception of Missouri.


    7.3     Resolution on the CPL claim
            Accordingly, that the parties raise a genuine dispute about the same material facts as
    for the breach of warranty claim, on the issue of violation of Consumer Protection Statutes,
    the Court DENIES plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569).
            The Court also DENIES defendants’ Omnibus motion (Doc. 2562) and Teva’s motion
    (Doc. No. 2565) for summary judgment on the issue of violation of Consumer Protection Laws,
    EXCEPT the Court GRANTS defendants’ Omnibus motion (Doc. 2562) and Teva’s motion
    (Doc. No. 2565) for summary judgment for violation of Consumer Protection Laws in Missouri.


    8.0    Common Law Fraud Claim
            The certified Common Law Fraud Subclass TPP Group c constitutes those jurisdictions
    where the scienter standard is the highest: Alaska, Arkansas, Colorado, District of Columbia,
    Florida, Idaho, Iowa, Louisiana, Massachusetts, Minnesota, New Jersey, New York, North
    Carolina, North Dakota, Ohio, Oklahoma, Rhode Island, South Dakota, Vermont, Virginia,
    Washington, Wyoming, and Puerto Rico.


            Ps seek two summary judgment motions on their common law fraud claim: against
    ZHP (Ps SJ Brf-ZHP, Doc. 2569-2) and against Torrent (Ps SJ Brf-Torrent, Doc. 2559-1). Relying
    on New Jersey law as representative of the laws of the jurisdictions in this subclass, Ps assert
    the five elements of common-law fraud are:
    1) material misrepresentation of a presently existing or past fact;
    2) Ds knowledge or belief of the false fact;
    3) intent that the other person rely on it;
    4) the other person’s reasonable reliance on the false fact;
    5) resulting damages.
            Ds (Omni SJ Brf.Doc. No. 2562-1:18-22 and Opp. Brf., Doc. No. 2603) seek summary
    judgment that Ps common law fraud claims fail because Ps can neither establish that Ds made
    any false or deceptive statement or omission nor satisfy the reliance requirement of this claim.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 50 of 74 PageID: 100596

                                                                                                       50


    8.1        ZHP
               8.1.1 Ps Arguments
            Regarding ZHP, Ps marshal facts to show ZHP knew of the presence of NDMA in its API
    and consequently in its finished dose VCDs by at least 27 Jul 2017. Their evidence is an email
    sent by Dr. Lin, Jinsheng, a PhD chemist who worked at a ZHP wholly-owned subsidiary where
    he reviewed degradation products in ZHPs manufacturing processes. On 27 July 2017, Dr. Lin
    sent an email to several ZHP top management officers and personnel, including heads of
    quality, risk assessment, board members and to Li, Min , ZHP Vice President for ZHP Analytical
    Operations 52, informing them of the nitrosamine contamination of irbesartan API, a related
    sartan.
            More importantly, Dr. Lin’s email states such contamination had already been known
    for valsartan API. Ps SOMF:40-42. The email provides no further details about the
    nitrosamine contamination of valsartan API, except for its known existence. ZHP
    SOMF¶163.2. But Ps state that the 27 Jul email actually describes the root cause of the
    contamination: sodium nitrite quenching of sodium azide and the need to optimize the sodium
    azide quenching step in the manufacturing process. The email also points out that the sodium
    azide quenching step was known to be a common problem in the manufacture of a related
    sartan, irbesartan. (Contamination of Irbesartan with NDMA is also complained of, in a
    separate section of this MDL). Ps SJ Brf.-ZHP, Doc. 2569-2:6.
            Ps fraud claim against ZHP is that from 27 Jul 2017 until 17 Jul 2018 when it voluntarily
    recalled its VCDs as valsartan, ZHP made a continuing material misrepresentation by the very
    act of selling contaminated API and VCDs, which was that its VCDs were FDA approved
    valsartan and compliant with all required cGMPs and compendial standards. Further, knowing
    they were making that continuing material misrepresentation of VCD purity, quality and
    equivalence with the RLD, ZHP never notified either their customers or the FDA of the
    contamination during this period. Ps SOMF:41. Ps aver that is fraud. Ps SJ Brf.-ZHP, Doc.
    2569-2:4-7.
             Regarding ZHPs intention that TPPs rely on the misrepresentations, P argue that is
    indisputable. Id: 8. Since ZHP knew of the VCD contamination and nonetheless continued
    selling its contaminated VCDs until the VCDs recall, Ps state that ZHP not only had scienter but
    its continued sales and silence about the contamination shows its intent to continue driving
    fraudulent sales. Id.: 7. Even ZHPs corporate representatives acknowledged that if ZHP had
    knowingly sold contaminated VCDs, that would be unacceptable and unethical. Id: 8; ZHP


    52
         Dr. Li, Min holds a PhD in organic chemistry from John Hopkins University in Baltimore, MD.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 51 of 74 PageID: 100597

                                                                                                     51


    SOMF:¶163.5. Importantly, there is no evidence demonstrating that ZHP ever investigated the
    possibility of contamination of its valsartan API after 27 Jul 2017 until June 2018 when one of its
    customers notified ZHP that it had found NDMA in the API.
            As for TPPs reliance on ZHPs misrepresentation, as they did for the express warranty
    claim, Ps aver that, until ZHP itself, the FDA, the EMA or a ZHP customer revealed the
    nitrosamine contamination, no TPP would or could have known of it. The only pathway to
    disrupt TPPs reliance was the direct disclosure of the nitrosamine contamination in a way that
    resounded throughout the medical community, i.e., a voluntary recall. Ps SJ Brf.:8. Finally, Ps
    aver TPPs were damaged by paying for VCDs that were adulterated and therefore worthless.
           As for the level of nitrosamine contamination, on 2 Sep 2018, Dr. Li, VP of ZHP
    Analytical Operations, confirmed to the FDA that ZHPs own testing of a large sampling of its
    API batches showed each batch exceeded the NDMA limit set by the FDA. Ps SOMF:¶31.
          Ps aver that ZHPs knowing commission of fraud resulted in TPPs paying for
    contaminated VCDs, which they would not have done so, had the TPPs known of the
    contamination. Ps SJ Brf.: 8.


           8.1.2 ZHP Arguments
           ZHP counters all of Ps arguments. First, SJ Brf., Doc. 2564-1:6 argues that the FDA
    never declared VCDs marketed and sold by Prinston d/b/a Solco were misbranded,
    misrepresented or adulterated. Therefore, the VCDs sold by Solco could not be deemed
    adulterated before the FDA disclosure in July 2018. Given that ZHP argued that the Chinese
    parent and Huahai U.S. did not sell VCDs in the U.S., the ZHP SJ Brf. is silent about the
    adulteration of ZHPs API. Other of ZHPs arguments are:
    -That in the summer 2018, the FDA issued statements that declared the presence of NDMA in
    ZHPs manufacturing process was “unexpected”. Id.:5 relying on ZHP SOMF:¶¶61-63;
    -That Dr. Ramin Najafi, one of Ps organic chemistry experts, testified in his deposition that a
    generic drug could be bioequivalent to the RLD even while that drug’s impurity profile differed.
    ZHP SJ Brf., Doc. 2564-1:3.
    -To evidence bioequivalence of the contaminated VCDs, ZHPs quote testimony of their
    pharmaceutical expert, Dr. Michael Bottorff, that the contaminated VCDs function in the body
    to lower blood pressure similarly as uncontaminated valsartan. Ibid.
    -As for misrepresentations, ZHP avers that neither ZHP China or Huahai U.S. made any to
    TPPs. Id.:5.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 52 of 74 PageID: 100598

                                                                                                                                       52


    -ZHP states the record is devoid of any showing that TPPs relied on ZHPs statements about its
    VCDs, which begs the question of an assertion of fraud.
    -As for the contents of the 27 Jul 2017 email, ZHP cites a case that one email does not a record
    of fraud make as a matter of law. 53


    8.2       Torrents Arguments
            As for Torrents fraud, Ps SJ motion-Torrent, Doc. No.2559-1:2 argues that ZHP notified
    Torrent of the nitrosamine contamination on 3 Aug. 2018. After that notice Torrent did start
    working with the FDA for a recall but did not stop selling VCDs for two weeks, until 17 Aug
    2018, even though customers had directly asked Torrent if the VCDs were contaminated. It is
    for this two week period that Ps specifically claim Torrent is liable for fraud because Ps aver
    Torrent’s scienter of VCD contamination is indisputable. Id. at 3-4.
            Ps also aver, as with ZHP and Teva, that Torrent had not complied with required cGMPs
    and compendial standards to ensure that its VCDs had the safety and purity profile of the RLD.
    Ps state all of the VCDs Torrent sold in the U.S. were nitrosamine-contaminated. They further
    aver that Torrent, like Teva, turned a blind eye to ensuring that it was complying with its
    quality and risk assessment procedures. Ps aver that both Teva and Torrent did so because of
    the low cost of the ZHP API. Ps also argue the low cost of ZHP API incentivized Torrent to
    have its customers rely on its misrepresentations in those two weeks while it continued to sell
    its VCDs. Ps aver as before that TPPs reliance is a matter of law as the TPPs could do nothing
    else but rely on Ds misrepresentations of the purity and safety of their VCDS. Id. at 5.
           Torrent seeks summary judgment on Ps fraud claims, asserting in their SJ Brf. (Doc. No.
    2570:3-9) and Opp. Brf. (Doc. No. 2595:3-10):
    -Torrents VCDs were not adulterated because the FDA never declared Tevas VCDs to be
    adulterated.


    53 Ds cited case, Tershakovec v. Ford Motor Co., 546 F.Supp.3d 134, 1364-65 is irrelevant.

               The Tershakovec email was from a single unverified consumer report with no diagnostic information about the car’s
    computer system failure. The court rightly found this to be insufficient evidence from which a reasonable juror could find Ford
    had knowledge that the relevant car models went into an unsafe mode of driving when using the cars on race tracks. Ds cite
    that the 11th Cir. (49 F.4th 1299 (11th Cir. 2023)) affirmed the district court’s holding of insufficient evidence. This is incorrect.
    The appeal related to the district court’s class certification opinion and in that context, the 11th Circuit remanded back to the
    district the issue of reliance on fraud in California and other jurisdictions. Id. at 1316.
               Tershakovec is irrelevant because here ZHP was internally notified by its own, reputable ZHP chemist to ZHPs upper
    management of a specific problem with the sodium nitrite quenching process, which aided the formation of nitrosamines in
    the resultant API. The Court sees that there is sufficient, clear, specific information from ZHP to ZHP to let a reasonable
    juror determine if ZHP knew of the contamination because of the 27 Jul 2017 email.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 53 of 74 PageID: 100599

                                                                                                    53


    -and it is only the FDA that can make such a determination.
    -therefore Ps can show no evidence of Torrent’s material misrepresentation or
    - evidence that Torrent acted with intent to have others rely on the misrepresentations
    -As Torrent did not and could not make a misrepresentation about its VCDs, Ps cannot show
    Torrent acted with scienter.
    - therefore, Ps fraud claim fails for lack of Torrent’s scienter.
    -consequently, Ps cannot recover punitive damages.
           In countering Ps arguments, Torrent disputes Ps assertion that Torrent did no or
    inadequate testing for the purity and safety of the VCDs. Rather the record shows Torrent
    conducted independent specification testing of every batch of API from ZHP in line with
    cGMPs, compendial standards and industry standards. Torrent Opp.SOMF, Doc. No. 2597: ¶9.
    Torrent makes the point that when the valsartan ANDAs were approved by the FDA, and up
    through recalls in July 2018, there was no compendial standard for testing for nitrosamine
    impurities in VCDs. Id.: ¶10.
           The Court observes that to a large extent, parties are speaking past each other, when
    Ps assert Ds did insufficient testing and Ds say they did exactly those tests required of the
    industry at the time. This is because the industry standards of testing, including even cGMPs
    and compendial standards, did not particularly identify refined and more difficult test methods
    needed to detect NDMA. Whether Ds could have discovered or should have been searching for
    nitrosamines before FDA disclosure in July 2018 or developing more refined testing is a
    question for the fact-finder.
           Nonetheless, Torrent marshals evidence to show it had tested VCDs and complied with
    the testing standards at the time. Id.:¶¶12-13, 50, 53. Torrent specifically disputes that it took
    no action to develop tests for VCD contamination in the two-week period in August 2018 that
    Ps aver Torrent continued to sell VCDs knowing they were contaminated. Id.: ¶¶21-22.
           As for its alleged misrepresentations, Torrent declares that Ps have misstated the
    deposition testimony of an important 30(b)(6) deponent, Mr. Sushil Jaiswal Head of Torrent’s
    Quality department, who stated that post recall the tested-for NDMA amounts in Torrents
    VCDs were below the FDA reporting thresholds. Therefore, Torrent made no
    misrepresentations by not disclosing its VCDs were adulterated. Id.:¶¶23-24.
            And as for Ps averment of Torrent’s fraud between 3 Aug 2018 and 17 Aug 2018, Torrent
    disputes it made any false statements to its customers. In particular, Torrent stated it was
    investigating whether its VCDs were contaminated. Id.:41.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 54 of 74 PageID: 100600

                                                                                                     54


    8.3    Tevas Arguments
            Ps did not ﬁle a separate summary judgment motion for fraud against Teva but did
    plead fraud against all Ds in the Third Amended Complaint. However, Teva did ﬁle a separate
    motion seeking summary judgment on Ps fraud claim.
            Teva seeks summary judgment not only on all three claims— breach of express
    warranty, violation of CPLs, and common law fraud (Tevas SJ Brief, Doc. 2565-1), but also on
    issues:
    1) that the Court lacks personal jurisdiction over Teva Pharmaceutical Industries Ltd. (“Teva
    Ltd.”) on the TPP Trial claims. (The parties’ stipulation mooted this issue. See also fn. 16).
    2) that Teva’s VCDs were not adulterated as a matter of law. (The Court has already ruled supra
    that adulteration of VCDs raises a genuine dispute of material fact);
    3) Since Ps have presented no evidence Teva acted with the requisite scienter, Ps fraud claim
    fails; and
    4) Ps have presented no evidence to support recovery of punitive/exemplary damages against
    Teva, which the Court discusses in Section 9.5.
            In opposition, Ps declare Teva purposefully played the ostrich when it did not do the
    needed diligence to affirm the quality of ZHPs API, that is, when it did not comply with its own
    standards of quality assurance and risk assessment. Ps SOMF-Teva, Doc. No. 2566:¶¶1-5, 42-
    55. Ps assert Teva misrepresented the quality of ZHPs manufacturing changes in its own
    internal standards of quality operations by recording them as minimal. But, according to Tevas
    own operating procedures, ZHPs changes were actually deemed moderate and called for a
    more refined review. Id.:¶¶ 56-60. Teva purchased contaminated API from ZHP for years but
    never fully or appropriately tested the API independently. Id.:¶¶ 61-65. However, finding
    serious ZHP cGMP violations in certain audits of ZHPs manufacturing reports from 2012,2015,
    and 2018, Ps aver Teva should have executed the appropriate gas chromatography testing for
    nitrosamine contamination in the API according to Tevas own cGMPs, but didn’t. Id.:¶¶ 66-67.
    Nor did Teva follow up with ZHP to get a full and proper description of the FDAs site inspection
    of the Chinese API manufacturing facility in May 2017 in which the FDA had found cGMP
    violations by ZHP. Id.:¶¶ 71-73. Ps assert Tevas many failures over the years to follow through
    and comply with its own internal operating procedures for quality strongly shows Teva failed
    its legal duty to investigate its own suspicions about the possible contamination. Because of
    that failure, Teva materially misrepresented their own VCDs had the safety and purity profile
    of the RLD.
          Teva asserts there was no duty and moreover they did not fail to meet it because they
    complied with all industry standards. Tevas SJ Brf.:2-3, Tevas SOMF:¶ 96. Adequate testing
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 55 of 74 PageID: 100601

                                                                                                                                     55


    for nitrosamines in pharmaceuticals was not developed until after the recall. Ds OMNI Opp.
    SOMF, Doc. No. 2571:¶¶62-3, Tevas Opp. SOMF, Doc. No. 2602:¶¶18-21, 67-76, 96-100.
    Moreover, Teva could not have known to test for nitrosamines in the VCDs as before recall
    there was little to no understanding in the chemical literature to anticipate that ZHPs changed
    chemical processes would result in such contamination. Id.:¶ 64. Further, Teva asserts it
    cannot have breached a non-existent duty because Tevas manufacturing facilities had received
    good cGMPs ratings from federal regulators. Tevas SJ Brf., Doc. No. 2565-1:2 Consequently, it
    could not have known to even anticipate such a duty by testing the VCDs for nitrosamine
    contamination. Teva Opp. SOMF, Doc. No. 2602:¶ 60. Further, Teva asserts it performed
    specification testing of all valsartan API from ZHP both before and after ZHP changed its
    manufacturing processes and confirmed every batch received from ZHP met all applicable
    specifications. 54 Id.:¶51. Tevas declares it had no legal duty to investigate discrepancies in
    ZHPs reports other than to do the specification testing, which it did. Id.:¶¶ 26, 66.Teva
    declares they can have made no material misrepresentation about their VCDs.
            As for their fraud claim, Ps argue Teva made a material misrepresentation that the
    quality and purity of their VCDs was equivalent to the RLD when their VCDs were adulterated
    for lack of proper diligence in complying with oversight cGMPs. Ps infer that Teva must have
    suspected contamination of ZHP API and did not test for it and/or reneged on its own quality
    and risk assessment procedures in order to purposefully avoid knowing if the VCDs were
    contaminated. Ps Rep. Brf.:1-2. Ps aver that Teva’s material misrepresentation and scienter
    are inferred from the same evidence and supported by the assertion Tevas VCDs were
    adulterated because of Tevas knowing non-compliance with its own quality and safety
    procedures that incorporated required GMPs and compendial standards.
            This is not the same quality of scienter that Ps argue for either ZHP or Torrent, where
    Ps provide purported, more-or-less direct evidence that ZHP and Torrent knew their VCDs
    contained nitrosamines for some period before FDA disclosure. Although Ps do not cite a
    specific document that conveys Tevas knowledge, Ps evidence from several incidents over the
    years of Tevas non-compliance with its own safety standards implies a pattern of Tevas not
    seeking such knowledge and raises a question.


    8.4       Resolution of the Fraud Issue
              As the Court has ruled supra that the adulteration of the VCDs is a question for the fact-

    54 To be clear, that Teva did “specificati0n testing” of ZHPs API is tantamount to Tevas assertion that it did the kind of testing

    that complied with the industry standard. “Specification testing” did not contemplate using gas chromatography to test why
    there were unknown peaks in ZHPs API, which turned out to be NDMA.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 56 of 74 PageID: 100602

                                                                                                      56


    finder, for Ps fraud claim, the principal question is whether Ps have proved as a matter of law
    the required elements, namely,
    that each of ZHP, Teva, and Torrent misrepresented their VCDs had the same safety and
    quality profile as the Orange Book formulation when each Ds lack of compliance with cGMPs
    and compendial standards may or not have signified the VCDs were adulterated,
    that each D knew they were misrepresenting the VCDs, and
    and intended the TPPs to rely on that misrepresentation, and
    that the TPPs did so rely.
           Of greatest importance for this claim is whether the Court finds that Ps have or not
    proved another Ds scienter in making a misrepresentation or omission, which is the key
    element to a finding of fraud as a matter of law. The Court finds there are too many genuinely
    disputed, material facts to show or not whether Ds knowingly or intentionally misrepresented
    their VCDs.
            Accordingly, the Court DENIES on the issue of fraud:
    Ds Omni motion for summary judgment (Doc. No. 2562);
    ZHPs motion for summary judgment (Doc. No. 2564);
    Tevas motion for summary judgment (Doc. No. 2565);
    Torrents motion for summary judgment (Doc. No. 2570);
    Ps motion for summary judgment against ZHP (Doc. No. 2569); and
    Ps motion for summary judgment against Torrent (Doc. No. 2559).


    9.0    Issues Related to Whether Damages are Owed and the Method of Calculating Them
           In addition to the three claims of express warranty breach, violation of consumer
    protection statutes, and common law fraud, Ds Omni SJ Brf., Doc. No. 2562 seeks summary
    judgment on various issues relating to TPPs damages.


    9.1    Plaintiffs Have No Cognizable Injury
           Ds Omni SJ Brf. (Doc. No. 2562-1:24-27) argues that, since TPPS cannot establish a
    cognizable injury, the Court should grant Ds summary judgment on this issue. Ds assert TPPs
    can not have experienced an economic loss for reimbursing their insured’s VCDs because their
    insureds received VCDs that performed as marketed, that is, lowered blood pressure. Since
    consumers got what they paid for—an effective hypertensive medicament—TPPs, as the
    consumers’ insurers, can assert no economic loss in reimbursing for an effective product.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 57 of 74 PageID: 100603

                                                                                                   57


             In opposing Ds argument, Ps assert a damages theory in which TPPs are owed the full
    extent of their economic loss because the VCDs were worthless. Ps economic expert, Dr. Rena
    Conti, postulates that, had the FDA known of the nitrosamine contamination, the
    contaminated VCDs could have been unavailable for sale in the U.S. market. Thus, had the
    FDA known, the contaminated VCDs would have been unmerchantable and therefore lacked a
    supply curve, leaving them worthless economically. Thus, Ps declare the VCDs were
    unmerchantable and worthless from when they first entered the U.S. market. TPPs are owed
    the full amount they paid for worthless VCDs for years.
            Ds have repeatedly sought the Court to repudiate Ps worthlessness theory: at the
    motion to dismiss stage, at the class certification stage, and recently in a motion to decertify
    the certified classes. In their Omnibus motion for summary judgment, Ds have propounded
    the theory that, since the FDA never officially deemed the VCDs adulterated under Federal
    statute until months after the first recall in July 2018, those VCDs that were sold before being
    characterized as adulterated in November 2018 were legally merchantable, even if
    contaminated. Ds merchantable theory is based on evidence showing that the VCDs,
    regardless of the nitrosamine contamination, functioned as expected to lower consumers’
    blood pressure and similarly as uncontaminated valsartan. The VCDs thereby delivered a
    bargained-for exchange, which leaves the TPPs without a cognizable injury.
              Ps characterize Ds no-cognizable-injury theory as a veiled lack-of-standing argument.
    That is, lacking an injury, TPPs have no standing to sue for the three claims. That the TPPs
    have proper standing—because this Court recognized their cognizable injury—was decided
    three years ago (See Doc. No. 728:8-15), from which decision the parties have advanced the
    litigation many times over.
           Regardless of what this argument is called in the parties’ summary judgment motions—
    Ds no-cognizable-injury or Ps lack-of-standing—these theories hinge on different legal
    perspectives and on genuinely disputed, material facts for the trial fact-finder. Pursuant to
    Rule 56(a), the parties’ arguments dispute a material fact about the amount of damages—from
    none to the full amount TPPs reimbursed for the insureds’ scripts. Their damages arguments
    not only go to the very heart of the parties’ liability, but depend on strenuously debated
    damages theories.
             The parties’ damages disputes hinge on—as do most of their arguments about Ds
    liability of the claims—whether the VCDs can be deemed adulterated, at what point were they
    adulterated, and what entity can make that determination. Given the utmost criticality of the
    definition and timing of drug adulteration in the TPP trial, the Court is constrained by Rule 56
    not to decide the issue of whether the TPPs are owed damages and leaves that for the fact-
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 58 of 74 PageID: 100604

                                                                                                                                 58


    finder.
            As discussed supra in section 8.3, the Court reiterates that neither the U.S. Code on
    adulteration (See fn. 29) nor an accompanying Code of Federal Regulations 55 limits the
    determination of drug adulteration to only the FDA. To be clear, the Court holds that, just as
    fact-finders in U.S. federal district courts decide every day whether U.S. statutes and their
    accompanying Code of Federal Regulations have been violated, so too the TPP trial fact-finder
    here may weigh the parties’ facts and arguments to decide whether the VCDs were
    adulterated.
             The Court finds that neither Ds as movant nor Ps as non-movant have met their Rule 56
    burdens. There is a genuine dispute of material fact as to the amount of TPPs damages, which
    centers on whether the damages are nothing because the VCDs gave the TPPs what they paid
    for—lowered blood pressure—or the VCDs were economically worthless and TPPs are owed
    the full amount they paid for the drugs. The Court finds Ds arguments that TPPs have no
    cognizable injury and Ps opposition that the VCDs are worthless to hinge on the very central
    question of the VCDs adulteration and raise a genuine dispute of material fact for the fact-
    finder.
          Accordingly, on the issues whether plaintiffs have no cognizable injury, whether they
    are owed damages and in what amount, the Court DENIES (Doc. No. 2562) defendants
    Omnibus motion for summary judgment.


              9.2      That Ps Damages Model Cannot Establish Damages on a Class-wide Basis
            Ds Omni SJ Brf. (Doc. No. 2562-1) seeks summary judgment on the issue that Ps model
    of calculating damages, which Dr. Rena Conti Ps economic expert has put forth, cannot
    actually compute the economic loss damages for the TPP subclasses. Ds argue that Ps model
    calculates TPP economic loss at the point of sale [“POS”] where the prescriptions were sold.
    This is because Ps POS model 56 is based on IQVIA Exponent data that captures POS drug sales
    information. Ds point out the POS model does not match this Court’s decision 57 that TPPs
    injury occurred where TPPs were located and paid for the prescriptions, the Point of Payment
    [“POP”] model. Ds assert the POP model is the correct one for calculating Ps damages; and
    the POS model is useless and does not tally TPPs actual damages, because of the mismatch

    55 § 314.170 Adulteration and misbranding of an approved drug.

    All drugs, including those the Food and Drug Administration approves under section 505 of the act and this part, are subject to
    the adulteration and misbranding provisions in sections 501, 502, and 503 of the act. FDA is authorized to regulate approved
    new drugs by regulations issued through informal rulemaking under sections 501, 502, and 503 of the act.
    56 Upon which the jurisdictions for Ps classes and subclasses were certified.
    57 MTD Opinion 2, Doc. No. 728.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 59 of 74 PageID: 100605

                                                                                                      59


    between the POS jurisdictions and the POP jurisdictions. Ps model of damages calculation
    being futile, Ds argue Ps can seek no proper damages.
            The Court observes Ds argument raises an intertwined attack on the traceability and
    ascertainability of Ps economic model of calculating their damages. On traceability, the Court
    reminds the parties of its reconsideration of its MTD Opinion 2 in its Opinion and Order RE
    Parties’ Objections to Special Master Report and accompanying Special Master Order 46. We
    found there that:
            “Since Back2Health Chiropractic Center, LLC v. Sentinel Insurance Company, Ltd.,
            Civ. No. No. 20‐6717 (JMV‐MF) , 2021 WL 960875, at *6‐*7 (D.N.J., 15 Mar 2021)
            explicitly backtracks from Semeran (a basis for the MTD Opinion 2), this Court
            finds it fitting to upgrade its ruling in the MTD Opinion 2 on the traceability
            requirement of named plaintiffs at the motion to dismiss stage” … “Thus, the
            Third Circuit found that two plaintiffs that were injured in Pennsylvania had
            standing to pursue claims on behalf of a nationwide class of plaintiffs that
            were injured in other states. Back2Health Chiropractic Center, 2021 WL 960875,
            at *6‐7” [emphasis added]. Doc. No. 1994:9-10
            Ds reliance on the standing-traceability arguments of this Court’s Motion to Dismiss
    Opinion 2 must yield to the Third Circuit’s finding that even at the motion to dismiss stage
    putative class members could represent claims of plaintiffs injured in jurisdictions where they
    did not reside. This implies that calculating TPPs payouts in jurisdictions where the TPPs do
    not reside, which confirms that POS claims are traceable and therefore calculable under the
    Third Circuit jurisprudence on standing.
            Ps argue that this Court defined the TPP subclasses, including the relevant ones here,
    as all TPPs that paid any amount of money in the specified states. They assert that wherever
    IQVIA Exponent data show TPPs paid for an insured’s script, regardless if payment occurred in
    the TPPs POS jurisdiction or the TPPs POP jurisdiction, the POS model could accurately
    calculate TPP damages. The Court recognizes that, in order to accurately calculate TPP
    damages using IQVIA Exponent data, a translating mechanism is needed. Such a mechanism
    would avoid under-awarding and would de-duplicate any double awards (as when the TPP is in
    a subclass that includes both its POS and POP jurisdictions) because it would convert any
    particular TPP award in a POS jurisdiction to an award only in its POP jurisdiction.
           Clearly, the MDL is way beyond the motion to dismiss stage but the finding of standing-
    traceability of MSP is unshaken by any argument the parties have raised and certainly not by
    Ds implied lack of ascertainability argument. Importantly, because of this Court’s revision of
    the putative class members’ traceability arguments, it is clear that this Court’s standing
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 60 of 74 PageID: 100606

                                                                                                                                60


    opinion defining POP locations does not work an impossibility to defining the ascertainability
    of the certified subclasses as the POS location.
           Contrary to Ds implications that this mismatch engenders an unworkable calculation of
    TPP damages, the parties can make this work by developing a translating mechanism, such as
    a subroutine, to convert the TPPs Point of Sale [POS] data acquired from the gold-standard
    IQVIA data to the TPPs Point of Payment [POP] locations. The Third Circuit has found such
    translating mechanisms to demonstrate ascertainability. 58
            Accordingly, on the issue of whether Ps model of damages cannot establish damages
    on a class-wide basis, the Court DENIES defendants’ Omnibus motion (Doc. No. 2562) for
    summary judgment.


          9.3    That Plaintiffs Cannot Prove Defendants’ Alleged Misrepresentation
    Proximately Caused TPP Injury
            Ds SJ Brf. (Doc. No. 2562-1) seeks summary judgment on the issue that Ps cannot prove
    that Ds alleged misrepresentations, omissions or breached warranties caused TPPs damages
    because there are intervening causes, notably intervening actors in the drug supply chain
    whose conduct reduces TPPs losses. These actors include the physicians who prescribed the
    VCDs as well as the Pharmacy Benefit Managers and agents who developed the TPP drug
    formularies and included the VCDs there. Ds aver that calculating TPP damages would have to
    take into account each individual insureds’ intervening causes in order to reduce damages
    appropriately to achieve an accurate amount.
             For this argument that intervening causes necessarily reduce TPP losses, Ds rely on
    Sargeants Benevolent Ass’n Health & Welfare Fund v. Sanofi-Aventis U.S. LLP, 20 F.Supp. 3d 305
    (E.D.N.Y. 2014). In Sargeants, the relevant claim was for violation of the federal RICO statute
    because of defendant Sanofi’s alleged misrepresentations to physicians about the safety of its
    off-label drug.59 However, establishing RICO causation in Sargeants required a wholly different
    legal standard than that for the claims here, which makes Ds “attenuated” theory based on

    58 See this Court’s Class Cert. Op., Doc. No 2261:26-27, reviewing the Third Circuit’s findings in RealPage:

    “While [a] linking task appears formidable, the RealPage Court has nonetheless made clear that, if the data exist to reasonably
    identify class members, then having to link disparate kinds of data to more accurately name all possible, putative members
    cannot be the reason to fail ascertainability”.
    59 The Sargeants TPPs relied on generalized proof that the prescribing physicians relied on Sanofi’s misrepresentations. They

    argued that, despite the presence of other factors in the causal chain, a sufficiently direct relationship may exist when
    plaintiff's injury is a foreseeable and natural consequence of defendant's misconduct. Id. at 316. The Sargeants Court
    discounted plaintiffs’ argument and found that, for a RICO claim, specific proof of reliance is a required element to prove
    conspiracy and particularly needed was specific proof of Sanofi’s misrepresentations to the prescribing physicians and their
    reliance on it in prescribing the off-label drug. The Sargeants Court held there was an unproven intervening cause that could
    not demonstrate a RICO conspiracy.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 61 of 74 PageID: 100607

                                                                                                      61


    Sargeants irrelevant and why the Court finds Sargeants inapposite.
           Ironically, in the Third Circuit, the Chief Judge of the Eastern District of Pennsylvania,
    considered the applicability of Sargeants in a case with facts quite similar to here. In Blue Cross
    Blue Shield Association v. GlaxoSmithKline LLC, 417 F.Supp.3d 351 (E.D. Pa. 2019), Judge
    Sánchez summarized his findings:
                    Plaintiffs, 38 private health insurance companies that purchased billions
           of dollars' worth of adulterated pharmaceutical drugs from Defendant
           GlaxoSmithKline LLC (GSK), bring claims under the Racketeer Influenced and
           Corrupt Organizations Act (RICO) and Pennsylvania law, alleging they
           purchased the drugs at issue based on GSK's misrepresentations that the drugs
           were manufactured in accordance with the Food and Drug Administration's
           “current Good Manufacturing Practices.” [footnote omitted]. Plaintiffs claim the
           adulterated drugs were worthless and had they known of the adulteration, they
           would not have included the drugs in their formularies. GSK has moved for
           summary judgment as to all claims pursuant to Federal Rule of Civil Procedure 56.
           Because Plaintiffs' RICO (Counts I - III) and unjust enrichment (Count VII) claims
           fail as a matter of law, GSK's motion for summary judgment will be granted as
           to those claims. [Defendant GSK’s] motion will be denied as to Plaintiffs'
           remaining claims for fraud (Count IV), civil insurance fraud pursuant to 18 Pa.
           Cons. Stat. § 4117 (Count V), negligent misrepresentation (Count VI), and
           breach of express warranty (Count VIII), and breach of implied warranty of
           merchantability (Count IX), which present genuine issues of material fact for
           trial. Id. at 537. (emphasis added).
           Plus, Judge Sánchez found defendant GSK’s theory unavailing that certain intervening
    conditions necessarily reduced plaintiff TPP damages:
           “… [Defendant] GSK asserts Plaintiffs' claimed damages theory [which, like
           here, was also that the drugs at issue were economically worthless] is
           impermissibly speculative. GSK argues Plaintiffs cannot demand damages in the
           amount of the full price paid for the drugs because the calculation fails to take
           into account the cost of therapeutic alternatives Plaintiffs would have had to
           provide, as well as any rebates they may have received for covering the At-Issue
           Drugs. GSK relies on Sergeants Benevolent Association Health & Welfare Fund v.
           Sanofi-Aventis U.S. LLP, 20 F. Supp. 3d 305 (E.D.N.Y. 2014), and UFCW Local
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 62 of 74 PageID: 100608

                                                                                                    62


             1776 v. Eli Lilly & Co., 620 F.3d 121 (2d Cir. 2010).” 60 Blue Cross Blue Shield
             [“BCBS”], 417 F.Supp.3d at 558.
            In distinguishing Sargeants and UFCW Local 1776, the BCBS TPP plaintiffs clarified they
    had no option but to rely on Defendant GSK’s statements about the safety of the Drug At
    Issue, which was used (not in an off-label application as in Sargeants but) directly for a medical
    condition. In using GSK’s Drug At Issue in their formulary, the BCBS TPPs had only a yes/no
    option, not a nuanced choice, in relying on the drug’s relative efficacy or expense, which
    translated into the BCBS TPPs blind reliance on GSK’s misrepresentations about its Drug At
    Issue. Id. at 558-559. Judge Sánchez found the BCBS TPPs arguments compelling and
    completely disregarded Sargeants and UFCW Local 1776. So does this Court.
             In addition to intervening causes affecting causation, Ds arguments also suggest that,
    for TPPs to have experienced loss by reimbursing the VCDs, their insureds had to have been
    injured, thereby revealing a supposedly, too-attenuated proximate cause. But, the insureds’
    injury is not at all the activating causation factor for TPPs economic loss. TPPs aver direct
    economic loss because they paid for drugs contaminated with a probable carcinogenic
    genotoxin, which Ps aver Ds knew they had not made safe or equivalent to the RLD. This is, as
    Ps aver, because of: Ds noncompliant cGMP testing when ZHP changed its manufacturing
    process; Ds wholly inadequate compliance with their own stated risk assessment and quality
    procedures set up to comply with cGMPs; and their silence to the FDA about the full extent of
    the chemical changes to ZHPs manufacturing processes of the API.
           That TPPs could do little to verify independently Ds representations that the VCDs were
    cGMP compliant underscores why TPPs aver their reliance was foregone. Moreover, there is
    no dispute between the parties on why TPPs seek damages: that TPP damages arise from Ds
    non-compliance with cGMPS which resulted in nitrosamine-contaminated drugs sold in the
    U.S. market. The factual dispute among the parties is over how much the TPP loss was:
    whether full reimbursement, partial, or none.
            In relying on a somewhat blindered and tautological view of VCD value, Ds have argued
    a proximate causation theory that considers the insureds’ injury, which is not the prevailing
    view in Circuit Courts. Other cases Ds cite in their SJ Brief, Doc. No. 2562-1:41-42, are equally
    unsuccessful as these assume that TPPs feature as downstream injured parties in the chain of
    their insureds’ causation. That is not at all the situation here, where TPPs have properly
    claimed and asserted facts relating to their direct injury, all of which revolve around Ds alleged
    non-compliance with cGMPs by which they placed allegedly unmerchantable drugs into the


    60 Defendants here rely on both Sargeants and UFCW Local 1776.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 63 of 74 PageID: 100609

                                                                                                     63


    U.S. market.
            In a case involving insurers’ reimbursement for their insureds’ medications, the Ninth
    Circuit posed the following question:
           “In civil actions brought under the Racketeer Influenced and Corrupt
           Organizations Act (“RICO”) against pharmaceutical companies, do patients and
           health insurance companies who reimbursed patients adequately allege the
           required element of proximate cause where they allege that, but for the
           defendant's omitted mention of a drug's known safety risk, they would not have
           paid for the drug?”
    Painters and Allied Trades District Council 82 Health Care Fund v. Takeda Pharmaceuticals
    Company Limited, 943 F.3d 1243 (9th Cir. 2019). This Court finds that, even though this MDL
    does not concern a RICO claim, the TPPs here are posing the same question.
            In developing its answer, the Ninth Circuit derided the decisions in all three Second
    Circuit cases that Ds cited in their Omni SJ Brf:29-30 regarding “attenuated” proximate cause.
    The Ninth Circuit looked at how each of the First, Second, Third, and Seventh Circuits have
    answered that question and considered the very cases Ds cited in their SJ brief but refused to
    accept the Second Circuit’s reasoning there. The Painters Court stated:
                   “Indeed, it seems the central dispute between the Second and Seventh
           Circuits and the First and Third Circuits is whether the decisions of prescribing
           physicians and pharmacy benefit managers constitute intervening causes that
           sever the chain of proximate cause between the drug manufacturer and TPP.
           We think the First and Third Circuits have it right because their reasoning is
           more consistent with the Supreme Court's direct relation requirement.
                  [A]lthough prescribing physicians serve as intermediaries between
           Defendants’ fraudulent omission of [the drug manufacturer] risk of causing
           bladder cancer and Plaintiffs’ payments for [the drug], prescribing physicians
           do not constitute an intervening cause to cut off the chain of proximate cause.
           An intervening cause is “a later cause of independent origin that was not
           foreseeable.” Mendez v. County of Los Angeles, 897 F.3d 1067, 1081 (9th Cir.
           2018) (quoting Exxon Co. v. Sofec, 517 U.S. 830, 837, 116 S.Ct. 1813, 135 L.Ed.2d
           113 (1996)). Here, since Actos was a prescription drug, it was required to be
           prescribed by physicians. Hence, it was perfectly foreseeable that physicians
           who prescribed Actos would play a causative role in Defendants’ alleged
           fraudulent scheme to increase Actos's revenues. Further, “because of the
           structure of the American health care system,” Defendants have always known
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 64 of 74 PageID: 100610

                                                                                                      64


           that “physicians would not be the ones paying for the drugs they prescribed.”
           [In re] Neurontin [Marketing and Sales Practices Litigation], 712 F.3d [21] ,at 38–
           39 [9th Cir. 2013]. Rather, they are well aware that TPPs and individual patients
           pay for the drugs. See In re Avandia, 804 F.3d [633] at 645 [3rd Cir. 2015].
           Defendants’ alleged fraudulent marketing scheme, which was intended to
           increase Actos's sales, “only became successful once [they] received payments
           for the additional [Actos] prescriptions [they] induced”—the very injury for
           which Plaintiffs seek recovery. Neurontin, 712 F.3d at 39. This is consistent with
           the Supreme Court's requirement that the proximate cause inquiry focus on the
           direct relation between the alleged violation and alleged injury. Hemi Group
           [LLC v. City of New York, NY], 559 U.S. [1] at 12, 130 S.Ct. 983.
                   If we were to hold the opposite—that prescribing physicians’ and
           pharmacy benefit managers’ decisions constitute an intervening cause to
           sever the chain of proximate cause—as the Second and Seventh Circuits
           have held, drug manufacturers would be insulated from liability for their
           fraudulent marketing schemes, as they could continuously hide behind
           prescribing physicians and pharmacy benefit managers. That is not the
           purpose the requirement *1258 of proximate cause is intended to serve.
           Proximate cause exists to ‘limit a person's responsibility for the consequences
           of that person's own acts.’ Holmes [v. Securities Investor Protection Corporation],
           503 U.S. [258] at 268, 112 S.Ct. 1311. Here, Plaintiffs seek to hold Defendants
           liable for the consequences of their own acts and omissions toward Plaintiffs:
           the money spent by Plaintiffs to purchase Actos.”
    Painters, 943 F.3d at 1257-1258 [emphasis added].
           As the greater number of Circuit Courts have found proximate cause to be an
    unsuccessful and legally inappropriate argument in disputes where insurers seek direct
    damages from drug manufacturers, and especially as Blue Cross Blue Shield in this Circuit has
    already ruled on the very same issues as here, this Court finds no legal support for Ds request
    for summary judgment under their proximate cause theory of damages.
            Accordingly, on the issue that plaintiffs cannot prove that defendants’ alleged conduct
    or misrepresentations proximately caused injury to TPPs, the Court DENIES Ds Omnibus
    summary judgment motion (Doc. No. 2562). Further, the Court PROHIBITS defendants from
    raising to the fact-finder that intervening or distant or attenuated causes of TPPs injury exist
    because physicians function as intermediaries in the U.S. drug supply chain or because of
    insureds’ pre-existing medical conditions or variability in insureds’ dosages or ingestion
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 65 of 74 PageID: 100611

                                                                                                                                   65


    duration.


    9.4       That Plaintiffs Cannot Prove Fraud or Warranty Based Damages
            In their SJ Brf. (Doc. No. 2562-1), Ds aver that the TPPs cannot prove fraud or warranty
    damages because in pharmaceutical cases, when drugs function as intended, the TPPs have
    received proper benefit of the bargain, which corresponds to TPPs payment for the VCDs. Ds
    declare Ps have neither argued nor shown that the VCDs did not work as intended. Also, since
    TPPs are not the consumers who actually received the benefit of hypertension relief, TPPs
    themselves cannot assert they did not get what they paid for in the reimbursed VCDs. Since
    TPPs cannot assert they suffered injury, Ds argue the TPPs can prove no ascertainable loss for
    their reimbursements of their insureds’ VCDs.
            The Court finds the cases Ds cite in this section are inapposite, in particular Heindel v.
    Pfizer Inc., 381 F.Supp. 23 (D.N.J. 2004). The Heindel court states the gravamen as:
                      “Plaintiffs in this matter are two consumers who suffer from pain
              associated with osteoarthritis and other conditions. Both took prescription
              drugs to treat their conditions and both got relief from the drugs they took.
              Though neither plaintiff suffered any physical injury from either of the drugs at
              issue, both now claim that they are entitled to damages for the “economic
              injuries” they suffered due to Defendants' failure to publicize the results of
              two clinical studies that revealed possible risks associated with the use of the
              drugs.” Id. at 366.
              Heindel as well as In re Rezulin, 210 F.R.D. 61, 68 (S.D.N.Y.2002), 61 upon which Heindel

    61 Which is a class certification decision regarding a drug that was NOT contaminated by the API mfr but which caused contra-

    indications leading to serious biological harm.
    The Court states again as it has in other opinions that Rezulin is not apposite here. This MDL, as opposed to the Rezulin MDL,
    concerns breach of warranty and fraud claims NOT because ZHP hid unfavorable or dangerous results and testing evidence
    from the FDA of contraindications that eventually amounted to dangerousness, the core complaint in the Rezulin MDL.
              Rather, this MDL concerns allegedly affirmative manufacturing conduct by the drug API mfr that resulted in
    nitrosamine-contaminated drugs that were sold in the U.S. market. ZHP affirmatively changed its manufacturing process,
    conduct over which it had total and complete control, and which affirmatively introduced into the API a genotoxic carcinogen
    known for 50 years to be a probable human carcinogen.
              The non-disclosure of unfavorable or even dangerous test data to the FDA could have demonstrated fraud were
    facts shown of Lambert-Warner’s intent to conceal that data COUPLED WITH A GENERAL BODY OF SCIENTIFIC
    LITERATURE pointing to causation between the Rezulin drug and the injuries complained of.
              Since the Rezulin injury—whether products liability or economic—was not rooted in a general scientific
    understanding about Rezulin as the cause, that Court found there could only be individualized inquiry about each consumer’s
    injury. But that is not the situation here. Here, there can be evidence adduced from general chemical principles about how the
    genotoxic carcinogen entered the API.
               In the TPP trial, which concerns economic loss liability of TPP insurers, there seems a small, if any, need for inquiry
    into individual facts of consumers’ ingestion of VCDs so to answer whether a consumer or a class could, do, will, or may have a
    heightened risk of cancer development. Ps seek to present evidence to the fact-finder as to what the defendants should have
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 66 of 74 PageID: 100612

                                                                                                                              66


    relies and Ds much tout, stand for the proposition that there can be NO economic injury when
    the consumer who ingested the drug got the benefits of the bargain, that is, by receiving the
    medical treatment that the ingested drug was supposed to deliver. Heindel and Rezulin are
    about contraindications in taking their respective drugs. They do not concern drug mfrs selling
    drugs they contaminated with nitrosamines, probable genotoxic carcinogens, because of their
    allegedly affirmative misrepresentations that the drugs had been made and quality controlled
    in a way that warranted their safety and purity.
            Ds argument arises from their assumptions about their liability: there can be no
    warranty breach or fraud because TPPs got the benefit of the bargain by paying for VCDs that
    lowered their insureds’ blood pressure and because Ds did not act with scienter in making and
    selling nitrosamine-contaminated drugs. Ds liability argument is contra positioned to Ps
    argument that the TPPs paid for worthless VCDs because of the nitrosamine contamination
    caused by Ds affirmative conduct not to make or sell safe drugs. Had the FDA known of the
    nitrosamine contamination before June 2018, the VCDs would not have been sold. Moreover,
    the economic loss due to warranty breach and fraud were not due to an allegedly, inadequate
    labelling or undisclosed safety risk as in Heindel and Rezulin but to a bona fide risk identified by
    the FDA (and other health regulatory agencies) of an increased probability of cancer
    development. The Court sees that Ds liability assumption of therapeutic efficacy does not
    resolve the issue or demonstrate no genuine dispute of material fact. The Court finds Ds
    assumptions gird its liability theory but do not address the full story of what the fact-finder
    must resolve.
            Put simply, whether Ds breached express warranties, and misrepresented the safety of
    their VCDs by putting them on the market without adequate safety/quality testing and/or are
    liable for fraud requires the fact-finder to determine material facts that are genuinely and
    intensely disputed here. In particular, such determination involves a weighing of the efficacy
    of the VCDs in lowering blood pressure vs. Ds alleged conduct in not complying with cGMPs,
    compendial standards; Ds own purported suspicions about the contamination, and Ds
    allegedly inadequate quality measures to test the degradation products of their changed
    manufacturing processes. Such fundamental averments genuinely disputed do not and cannot
    support a grant of summary judgment.
            Moreover, the Court adds that, while lowering consumers’ blood pressure, the VCDS
    also increased consumers’ likelihood of developing cancer, especially of liver, lung, and
    stomach, to about 1 chance in every 8000 VCD consumers taking the highest dose of the

    done to prevent or discover the contamination. And as an answer to that question, individualized facts about individual
    consumers’ causation liability are of little direct relevance.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 67 of 74 PageID: 100613

                                                                                                     67


    medication over a period of four years. Such a probability the Court finds is more than a
    contra-indication, which is why Heindel and In re Rezulin are not on point. As the biological
    effects of the VCDs are Janus-faced, the Court finds support to have the fact-finder decide
    whether TPPs did or not get the benefit of the bargain.
           Accordingly, on the issue that plaintiffs cannot prove fraud and breach of warranty
    damages, the Court DENIES defendants’ Omnibus motion for summary judgment (Doc. No.
    2562). For clarity, the Court has not ruled that Ps have proved fraud and breach of warranty
    damages, but is ruling that Ps are entitled to put before the fact-finder evidence that, Ps aver,
    proves such damages.


    9.5    That Plaintiffs Cannot Prove Punitive Damages
             Ds point out that in order to justify an award of punitive damages, a choice of law
    analysis is a preliminary prerequisite to resolving where Ps may seek punitive damages for their
    claims. The Court agrees with both parties’ arguments that the choice of law analysis is more
    strongly decided not in favor of New Jersey but for the jurisdiction where the TPP is located
    and presumably paid for the VCDs.
            Moreover, the parties in their respective SJ briefs have alerted the Court to restrictions
    in some jurisdictions for certain claims. Combining the parties’ research and arguments, the
    Court finds that the listed jurisdictions below permit punitive damages as a remedy for a
    breach of express warranty, fraud, or violation of state consumer protection laws.
            As for Nebraska and New Hampshire, Ds point out that regardless of legal claim, these
    states do NOT permit an award of punitive damages. The Court agrees.
           Moreover, Ds assert some jurisdictions require more stringently demonstrated
    elements for fraud and consumer protection laws than plaintiffs have offered evidence for.
    These elements include a demonstrated egregiousness of Ds fraudulent conduct and
    maliciousness well beyond an intent to deceive, which Ds argue the evidence cannot show.
    Since Ps cannot meet these heightened standards, Ds seek summary judgment on punitive
    damages in all jurisdictions in the fraud and consumer protections subclasses.
            Other than for Nebraska and New Hampshire, Ds also cite caselaw for North Carolina
    that prohibits recovery of punitive damages for fraud. Further, Ds also cite caselaw in Ohio,
    New York, and Louisiana, which they argue demonstrate heightened standards of proof. The
    Court has reviewed Ds cited cases and finds for the most part Ds have given an incomplete
    view of the standards regarding punitive damages in those states. As it turns out, none of these
    four states—North Carolina, Ohio, New York and Louisiana— prohibits punitive damages for
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 68 of 74 PageID: 100614

                                                                                                                                    68


    fraud claims. See fn. 62. 62
            Based on facts to be presented to the fact-finder, Ps argue their evidence satisfies the
    standards—heightened or otherwise—for punitive damages in all subclasses. To support their
    assertion, Ps list case law citations, which the Court does not find incorrect. See Ps Opp. Brf.


    62 The Court agrees Ohio has a fraud-plus-more pleading standard in order to justify an award of punitive damages. However,

    Ds quotation to K. Ronald Bailey & Assocs. Co. v. Soltesz, No. E-05-077, 2006 WL 1364019 (Ohio Ct. App. 19 May 2006) by no
    means clarifies what that is. The Bailey Court stated:
             “ Punitive damages may be awarded in a fraud case where, in addition to the elements of fraud, a party
             proves: ‘that the fraud was aggravated by the existence of malice or ill will, or must demonstrate that the
             wrongdoing was particularly gross or egregious.’ [citation omitted]… Malice may be defined in two ways: …
             (2) extremely reckless behavior revealing a conscious disregard for a great and obvious harm.” Id. at *3.
    “Aggravated fraud” evidence is what Ps purport to show by eliciting facts and arguing in their SJ brief that all Ds were
    extremely reckless in their non-compliance with cGMPs and in particular, by not testing the chemical results of ZHPs
    changed manufacturing processes or by relying, without more, on ZHP assurances of quality.

             As for Ds citation of North Carolina law that punitive damages are not recoverable for fraud, that is incorrect. The
    North Carolina Supreme Court expressly stated in Newton v. Standard Fire Ins. Co., 291 N.C. 105 (1976):
             “The aggravated conduct which supports an award for punitive damages when an identifiable tort is alleged
             may be established by allegations of behavior extrinsic to the tort itself, as in slander cases. [citations
             omitted]. Or it may be established by allegations sufficient to allege a tort where that tort, by its very
             nature, encompasses any of the elements of aggravation. Such a tort is fraud, since fraud is, itself, one of
             the elements of aggravation which will permit punitive damages to be awarded. See Saberton v. Greenwald
             [146 Ohio St. 414 (Sup.Ct. of Ohio 1946)] supra, which allowed punitive damages for a fraudulent
             representation that induced the plaintiff to buy an old watch in a new case.” Newton, 291 N.C. at 112-113.
             [emphasis added].

               As for Ds assertion that Louisiana case law prohibits recovery of punitive damages in an action for fraud, again not
    correct. In particular, Warren v. Shelter Mut. Ins. Co., 196 So.3d 776 (Ct. of App. of La., Third Circuit 2016) concerned a
    products liability case involving a defective motor boat engine, which the manufacturer knew of and kept it undisclosed. The
    Warren plaintiff sought a punitive damages award for the boat manufacturer’s fraud. The Warren court reviewed various state
    law punitive damages awards for their fit with U.S. Supreme Court guidance and 14th Amendment due process considerations
    and affirmed the jury’s exceptionally large punitive damages award in a maritime case:
               “For all of the reasons expressed above, we find that the punitive damages awarded by the jury in this case
               do not violate constitutional due process under the guideposts articulated in BMW [of North America, Inc. v.
               Gore, 517 U.S. 559 (1996) nor are they excessive under the reasoning of Exxon [Shipping Co. v. Baker, 554
               U.S. 471 (2008)]. Accordingly, we affirm the judgments of the trial court in all respects on the issues raised
               in appeal number 15–1113.” Warren, 196 So.3d at 817.
    Warren concerned the excessiveness of punitive damages for fraud awarded by a Louisiana jury. Clearly such damages are not
    disallowed in products liability cases in Louisiana. Further, there is no negative treatment for this case.
                See also, Warren v. Shelter Mutual Insurance Company, 233 So.3d 568, 596 (Sup. Ct. of La. 2017) where, on Ds appeal
    of the large punitive damages award, the Louisiana Supreme Court agreed that, although the boat manufacturer’s conduct
    was reprehensible, and certainly within the punishable spectrum, the evidence did not support characterizing the boat
    manufacturer’s conduct as on the extreme end of malicious behavior and dangerous activity, and carried out for the purpose
    of increasing a tortfeasor's financial gain. Consequently, the Louisiana Supreme Court found the $23,000,000 punitive
    damages award higher than reasonably required to satisfy the objective of punitive damages awards: punishment, general
    deterrence, and specific deterrence.
               The Warren cases are dispositve that punitive damages are not only allowed for Louisiana products liability actions
    but that under Louisiana law there are “standard” vs. “egregious” punitive damages, distinguished by a fact intensive review of
    the quality of defendant’s maliciousness.

              Ds citation to New York standards regarding punitive damages for fraud is accurate; the weightiest citation for this
    issue under New York jurisprudence is Walker v. Sheldon, 10 N.Y.2d 401, 405 (1961). In their Omni SJ brief, Ds imply that New
    York’s fraud standards also applied to Ohio, North Carolina, and Louisiana, which is an unfortunate assertion for its inaccuracy.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 69 of 74 PageID: 100615

                                                                                                  69


    Doc. No. 2606-1:45-49, n. 42-43.
           Based on the parties’ arguments, the Court finds:
           The Breach of Express Warranty Subclass Group b includes these jurisdictions:
    Alabama, Arkansas, Florida, Georgia, Mississippi, Montana, Nebraska, Nevada, New
    Hampshire, New York, North Carolina, Ohio, Oregon, Rhode Island, South Carolina, Texas,
    Utah, Vermont, Wisconsin, and Wyoming, with Nebraska and New Hampshire being
    excluded;
            The Common Law Fraud Subclass Group c includes those jurisdictions where the
    scienter standard is the highest: Alaska, Arkansas, Colorado, District of Columbia, Florida,
    Idaho, Iowa, Louisiana, Massachusetts, Minnesota, New Jersey, New York, North Carolina,
    North Dakota, Ohio, Oklahoma, Rhode Island, South Dakota, Vermont, Virginia, Washington,
    Wyoming, and Puerto Rico, with the bolded jurisdictions in the Fraud Subclass expressly
    retained;
            The Consumer Protection Laws Subclass Group a includes those states where no
    showing of intent is required to prove deception: Alaska, Arizona, California, Connecticut,
    Florida, Louisiana, Missouri, Nebraska, New Hampshire, New York, North Carolina, North
    Dakota, Oklahoma, Pennsylvania, and Washington, with Nebraska and New Hampshire
    being excluded.
            For clarity, Ps Omnibus motion for summary judgment (Doc. No. 2569) for breach of
    express warranty and violation of consumer protection laws does not seek punitive damages.
    Nor do Ps individual motions for summary judgment against ZHP (SJ Brf., Doc. No. 2569-2) or
    Torrent (SJ Brf., Doc. No.2559-1) seek punitive damages for fraud. Ps aver damages will be
    shown at trial. For that reason, the Court finds that Ds arguments and asserted facts regarding
    punitive damage as well as Ps SOMFs and opposition SOMFs demonstrate a genuine dispute
    of material facts on the issues of punitive damages and proof of scienter and leaves these
    issues for the fact-finder.
         Accordingly, on the issue that plaintiffs cannot prove punitive damages, the Court
    DENIES defendants’ Omnibus motion for summary judgment (Doc. No. 2562);
           EXCEPT, the Court GRANTS defendants’ Omnibus motion for summary judgment
    (Doc. No. 2562) on the issue of seeking punitive damages on for breach of express warranty,
    and violation of state consumer protection laws in Nebraska and New Hampshire.


    9.6    Resolution of Defendants Omnibus Motion for Summary Judgment on Damages
           Summarizing section 9.0, the Court DENIES defendants’ Omnibus motion for summary
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 70 of 74 PageID: 100616

                                                                                                          70


    judgment (Doc. No. 2562) on the following issues relating to TPPs damages:
           9.1: That plaintiffs have no cognizable injury because the disparity between parties’
    theories of liability raises a genuine dispute of material facts for resolution by the fact-finder,
           9.2: That plaintiffs’ model of damages cannot establish damages on a class-wide basis
    because of the mismatch between how the TPP subclasses were defined versus the basis of
    TPPs standing.
            That plaintiffs’ model of damages calculates TPP damages on a Point of Sale basis
    rather than on a Point of Payment basis, i.e., using TPPs home jurisdictions, which is not fatal
    because the parties may apply a translating mechanism, recognized in Third Circuit cases, that
    converts TPP POS jurisdictions into TPP POP jurisdictions and calculate TPP damages for POP
    jurisdictions.
           9.3: That plaintiffs cannot prove that defendants alleged misrepresentations and
    fraudulent conduct proximately caused any injury. As the greater number of Circuit Courts
    have found proximate cause to be unavailing in disputes where insurers directly seek damages
    from drug manufacturers, Ds proximate cause theory of economic loss damages lacks legal
    support.
           9.4: That plaintiffs’ fraud or breach of express warranty damages cannot be proved.
    Damages for fraud and express warranty claims require the fact-finder to resolve material facts
    genuinely and intensely disputed here, including whether defendants had enhanced or
    lessened malice in not testing or conducting risk assessments regarding the unqualified
    changes in VCD manufacturing processes.
            9.5: That plaintiffs cannot prove punitive damages because plaintiffs have not cited
    incorrect case law in jurisdictions requiring heightened pleading of malice for fraud, EXCEPT
    THAT: defendants have shown that Nebraska and New Hampshire prohibit punitive damages
    for the breach of express warranty claim and violation of consumer protection laws.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 71 of 74 PageID: 100617

                                                                                                  71


    10.0   CONCLUSION


    1) On the claim of breach of implied warranty, the Court GRANTS:
    defendants’ Omnibus summary motion for judgment (Doc. No. 2562).


    2) On the issue whether defendants’ affirmations, statements, labelling of their VCDs
    constitute express warranties that their VCDs were the equivalent to the Orange Book
    formulation, the Court GRANTS:
    plaintiffs’ Omnibus motion for summary judgment (Doc. 2569);
    and DENIES:
    defendants’ Omnibus motion for summary judgment (Doc. 2562).


    3) On the issue whether the VCDs sold before the recalls began in July 2018 were adulterated,
    The Court DENIES:
            plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569);
           defendants’ Omnibus summary motion for judgment (Doc. No. 2562);
           ZHP’s, Teva’s, and Torrent’s individual motions for summary judgment (Docs. No.
    2564, 2565, and 2570, respectively).


    4) On the issue whether defendants violated cGMPs and compendial standards in making
    nitrosamine-contaminated API and FD VCDs and in marketing and selling them before the
    recalls began in July 2018, The Court DENIES:
           plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569); and
           defendants’ Omnibus summary motion for judgment (Doc. No. 2562).


    5) On the issue whether defendants breached express warranties to plaintiffs in TPL Express
    Warranty Subclass b, the Court DENIES:
    plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569); and
           defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


    6) On the issue whether plaintiffs have given defendants pre-suit notice of the breach of
    express warranty claim,
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 72 of 74 PageID: 100618

                                                                                                    72


    the Court DENIES:
    defendants’ Omnibus motion for summary judgment (Doc. No. 2562);
    and GRANTS:
    plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569).


    7) On the issue whether the statute of limitations limits the filing of breach of express warranty
    claims in some jurisdictions in TPP Express Warranty Subclass b,
    the Court DENIES:
    Ds Omnibus motion for summary judgment (Doc. No. 2562):
    and GRANTS:
    Ps motion for summary judgment (Doc. 2569).


    8) On the issue whether tolling of the statute of limitations for the express warranty claim
    may be justified in some or all jurisdictions in the TPP Express Warranty Subclass b,
    the Court DENIES:
    plaintiff’s Omnibus motion for summary judgment (Doc. No. 2569); and
    defendants Omnibus motion for summary judgment (Doc. No. 2562).


    9) On the issue whether plaintiffs relied on defendants’ express warranties, the Court DENIES:
    plaintiff’s Omnibus motion for summary judgment (Doc. No. 2569); and
    defendants Omnibus motion for summary judgment (Doc. No. 2562).


    10) On the issue of violation of Consumer Protection Statutes,
    the Court DENIES:
    plaintiffs’ Omnibus motion for summary judgment (Doc. No. 2569);
    defendants’ Omnibus motion (Doc. 2562); and
    Teva’s motion for summary judgment (Doc. No. 2565),
    EXCEPT the Court GRANTS:
     defendants’ Omnibus motion (Doc. 2562) and Teva’s motion (Doc. No. 2565) for these claims
    in Missouri.
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 73 of 74 PageID: 100619

                                                                                              73


    11) On the issue of fraud , the Court DENIES:
    plaintiffs’ motion for summary judgment against ZHP (Doc. No. 2569); and
    plaintiffs’ motion for summary judgment against Torrent (Doc. No. 2559).


    defendants’ Omnibus motion for summary judgment (Doc. No. 2562);
    defendant ZHP’s motion for summary judgment (Doc. No. 2564);
    defendant Teva’s motion for summary judgment (Doc. No. 2565);and
    defendant Torrent’s motion for summary judgment (Doc. No. 2570).


    12) On the damages issue whether plaintiffs have no cognizable injury,
    the Court DENIES:
    defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


    13) On the damages issue whether plaintiffs’ model of damages cannot establish damages on a
    class-wide basis,
    the Court DENIES:
    defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


    14) On the damages issue whether plaintiffs cannot prove defendants’ alleged conduct and/or
    misrepresentations proximately caused plaintiffs any injury,
    the Court DENIES:
    defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


    15) On the damages issue whether plaintiffs cannot prove fraud and breach of warranty
    damages,
    the Court DENIES:
    defendants’ Omnibus motion for summary judgment (Doc. No. 2562).


    16) On the damages issue whether plaintiffs cannot prove punitive damages,
    the Court DENIES:
    defendants’ Omnibus motion for summary judgment (Doc. No. 2562),
Case 1:19-md-02875-RBK-SAK Document 2692 Filed 03/26/24 Page 74 of 74 PageID: 100620

                                                                                               74


    EXCEPT the Court GRANTS:
    defendant’s Omnibus summary judgment motion (Doc. No. 2562) on the issue that plaintiffs
    cannot prove punitive damages in Nebraska and New Hampshire, for breach of express
    warranty and for violation of Consumer Protection Laws.



    Dated: 26 March 2024                            s/ Robert B. Kugler
                                                    Honorable Robert B. Kugler
                                                    United States District Judge
